CFN t 110123175, OR BK 48009 Paga 13, Paga 1 of 2, Recorded 06/30/2011 at
        Case
10: 57 AM,    23-16706-PDR
           Broward              Doc 22-1
                   County Commission,     Filed
                                      Deputy    09/18/23
                                             Clerk 3405    Page 1 of 62



      \                           Mol\1
          Document drafted and prepared by and
          when recorded, return to:

          Wells Fargo Home Mortgage
          Michael Schmalen, x9999-018
          PO Box 1629
          Minneapolis, MN 55440-9790




                                                                          (Space above this line for recorder use only)
                                                     ASSIGNMENT OF MORTGAGE
          For value received, Weis Farao Bank, N.A., herein ·Assignor", whose address is 1 HOME CAMPUS, DES MOINES, IA
          50328, the undersigned hereby 11rants, assigns, and transfers to:
          The Bank of New York Mellon, flea The Bank of New York a su«essor In Interest to JP Morpn Olase Bank NA as
          Trustee for Bear Steams Aaet 8adced Securities Trust 2006-502, Asset-Backed c.rtlflcates, Serles 2006-502
          One Wall Street, New York, NY 10286
          herein "Assi11nee- Its successors and/or assigns, all Its right, title, and all beneficial interest under that certain
          MORTGAGE, herein "Security lnstrumeni- executed by Ralph L Sanders, An Unmarried Man, dated April 11, 2005,
          In the amount of $313,000.00 and 11iven to Wells fafllO Bank, N.A. and recorded on April 20, 2005 as Document or
          Instrument Number 104922671 and/or In Boole 39474, Page 1072, of Offlclal Records in the County Recorder's
          office of Broward County, Florida, describlns land therein as:
          Property Address:           561 SW 60 Ave, Plantation, FL 33317
          Pan;el ID#:                 N/A
          Legal Description:          See Attached
                                                                      Wells Farao Bank, N.A.




                                                                      Vice President Loan Documentation




                                          FLORIDA ALL PURPOSE NOTARY ACICNOWLEDGEMENT
          STATE OF MINNESOTA

          COUNTY OF DAKOTA
          On this      C/t~~                before me,     1/bJ,,t,v N            ~ personally appeared       .
                    Carissa         ler             . Vice ~ t Loan Documentation, Wells Far110 Bank, N.A.• D
          perso~aliy known to me - OR - ~ proved to me on the basis of satisfactory evidence to be the person(s) whose
          name(s) ls/are subscribed to the within Instrument and acknowledged to me that he/she/they executed the same
          in his/her/their authorized capacity(ies), and that by his/her/their signatures on the Instrument the person(s), or
          the entity u     behalf of which the person(s) acted, executed the instrument.


                                                                   ,. .            ANN M GARONER
                                                                                        Nola,yPublic
                                                                                          Minnesota
                                                                            !!tY Comllliaion EJlllinls Jan. 31, 201~




                                                               Page I ofl
CFN I 110123175, OR BK     48009     PG   14,     Paga       2 of 2
       Case 23-16706-PDR             Doc 22-1           Filed 09/18/23      Page 2 of 62




                                            Lepl Description

         Lot 22, in Bloc:k 4, of PLANTATION PARK 10TH ADDmON, according to the Plat thereof. as
         recorded In Plat BOOk 55, at Page 21, oflhe Public Records of Broward County, Florida.




                                                Page 2 ofl
                 Case 23-16706-PDR       Doc 22-1   Filed 09/18/23   Page 3 of 62


1018459424 - SANDERS, RALPH

From: gary@gassellaw.com

To:   ralph_l_sanders@yahoo.com

Cc:   ralph.l.sanders@gmail.com

Date: Thursday, January 26, 2023 at 11 :35 AM EST



Mr. Sanders:

Here is the mortgagee title policy you requested.

Thank you

Gary Gassel
This email and any supporting documents are provided pursuant to Florida
Statute 90.408 and are intended as an offer of settlement and compromise
and are inadmissible against Plaintiff in any judicial proceeding in this
matter



 Thank you



 Gary Gassel



 Gary Gassel, Esquire

 Admitted Florida and North Carolina



 Law Office of Gary Gassel, P.A.

 2191 Ringling Boulevard

 Sarasota, Florida 34237

 Phone: 941-952-9322

 Fax: 941-365-0907
                Case 23-16706-PDR            Doc 22-1      Filed 09/18/23       Page 4 of 62
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above address via the U.S.Postal Service. Thank You.



To ensure compliance with Treasury Department regulations, we advise you that, unless otherwise expressly
indicated, any tax advice contained in this communication (including any attachments) was not intended or
written to be used, and cannot be used, for the purpose of (i) avoiding tax-related penalties under the Internal
Revenue Code or applicable state or local tax law provisions or (ii) promoting, marketing or recommending to
another party any tax-related matters addressed herein.



NOTE: This law firm is deemed to be a debt collector attempting to collect a debt and any information obtained
will be used for that purpose.



In compliance with Fla. R. Civ Pro. 2.56l(b)(l), any and/or all pleadings filed in any case involving our
firm, are to be served upon this firm via email to Pleading~@Gassellaw.com (primary) or
Efiling@Gassellaw.com (secondary). PLEASE ONLY USE ONE




     Title Policy.pdf
     349.2kB
                        Case 23-16706-PDR                          Doc 22-1              Filed 09/18/23                 Page 5 of 62

--- - -~---...--.---             -~---
                                                           •--

      LOAN POLICY OF TITLE INSURANCE
     ~ e r s Title Insurance Corporation                                                                                           POLICY NUMBER

     a., LandAmerica                                     IM)'lls TIii lnaranal Capanlion is al1181fflWdl!Je                GSl-0223081
                                                         UlldAnwlca,-dlltfltNlllfft'lllldal.,-,.,,.
     -         Lawyers Title

     SUBJECT TO lHE EXCLUSIONS FROM COV£RAGE, THE EXCEPTIONS FROM COVERAGE CONTAINED IN SCHEDULE B AND THE
     COHDITIONS AND STIPULATIONS, LAWYERS Tr11.E INSURANCE CORPORATJON. a Virginia carpogtion, hentin c:allad Ille Company. insunis, as of
     Dale of Polley 8hown in Schedule A. against lo8s or damage, not exc:eedlnQ tne Amount of lnluranc:e lt8lad In Sd18dule A. sustained or lnc:l#nld by lhe
     illlUl9db)'IUICl!tat
     1.      Title 101he ellale or lnlanl5t delCrlbed in Sc:hadule A being WIied Oht' 1han as Slated !herein;
     2.      Arrt dafec:t in or Ian"' encumbrance on lhe Ille;
     3.      Unma11cetabi1i1 vi Ille lltle:
     4.      Lack of a right of accen to and fnlrn lhe land;
     5.      The inYalidily or I.Wllrlforc:eabilily of lhe lien oflhe inU'ed mortgage up:,n ltle lllle;
     6.      The prlorily d-, len or ancuntnnce ower lhe lilln ol the inll.ftCI mortgage;
     7.      lack of priorly ol the lien of the inlAnd rna,tgage over any statutory llen for aervtce1. labor or material:
             (a) arising tom an lmprowment or work retallCl lo lhe land which ii 0CIIVaded for Cf CCfflfflllllC9d pitor to Dale of Polley: or
             (b) nlng from an irnpnMlmenl or WOiie retalad to 1tl9 land which ii conbacted for or commenced aubsequenl to Dale of Policy and which ii
                  ftnanced in whole or In PM1 by , , _ . of the inclalJledness llllc:unid bJ the lnand f'IIOII08ll8 which at Date or Poley lhe inaUlecl has
                  adllllnced or Is obllgallld to ectvance;
     a.      lhll lnvalidlty o r ~ of MY auigmllnt of the Insured mortgage, provided the assignllleflt ill.._ in Sc:hecMe A. or the                      ran     of the
             assignment 8hown In Schedule A to 1A1St lille to h ir.ured mortgage In h named inlUred 811ignee he and clear of all lians.
     The Company wil llhlo pay lie costs. att.orne,5' .._ and expenses incumNf in defenee of the title or the Ben of 1h11 il1ISUled 11'11111(J8ge. as insured. but only
     lo Iha . . . pr1Mdad In Iha Condltlons and SUpiations.
     IN WllNESS WHEREOF, LAW'IERS TITLE INSURANCE CORPORATION has caused ils corporate name and seal to be hereunto aflixed by its dUI)'
     authorized offlcaa, the Polley &o become valid wtien c:ounf8fligned by an aulllOlfz8d officer or agent of the Company.

                                                                                                LAWYERS TITLE INSURANCE CORPORATION


     Attest:




                                                                 exa.uslONS FROM COVERAGE
     The fGllcMino matters Mt 8Xpl8ISly exduded from Ille covenige of this policy and 1h11 Campany wil not pay loss or damage. costa. attorneys' fees ::,r
     expenaeswhlch arlle t,yn,asan of:
     1. (I) AnJ law. ordinance or gCMnllllllfllll l'egulltiDn (lnc:ludlng but not limited to DUilding and zonin; lawa. DRfinances. or regulations) ieslriding,
                 reguldng. prohlblll119 or l9llling lo (I) the oc:a,pancy, UH. or • ~ Of die land; (i") lhe chlracter, dimensions or location of MPf
                 ln¥JRMlffllll1t now or hefeafter erec.ted on Iha land; (ii)• separation In ownership or• change in the dirnen&lona or a,u of IJle land or any
                 pan:el of Wtlidl the land is or was a part: or (Iv) envlrOl-llill p,otection. or lhe eflac:t of any violaliOn of these law$, Ol'dlnlnc:lls or
                 govemn,en181 regullliona, acapt lo lhe e111ent that I notice of ltle enforcement lhenlOt or a notiCe of a Clll'8d. lien or encumbrlnc:e n!Sult•ng
                 from I wolllioll or alleged violation lffedlng the land his been lwc:ocded ln the pubic records Ill Data of PolcJ.
          (b) Arf'I governmetltll poll0e power note,cc:ludlct by (1) lbove. 8XceflC lo the extent that a nala ol the eXM:ile thereof or• nob Of I defect. lien
                 OI enaanbrance ~ from I violation or alleged wolltiofl lffedinO the land has bNl'I reconfed In lhe ptdc rwcorda ll Dale Of Polley.
     2.   Rlgi,lg of eminent domeln unlels nollce of the uen:lse ltlefeof has been reconl8d In the P1tiic NICOldl If Dale of Polley, but nol exduding from
          COlllll'IDII any~ whlcn has OCUl9d prior to Dale d Pollc.y which W'1Uld be llindlng on the rigllla of a ~ for value wilhout knoWledge.
     3. Der.eta. lens. encumbrlncelJ. adwrle ctaims or Clher matters:
          (a) crealed. sufflnd, ISllll1lld or ao,Nd to by the lnluNd dlimanl;
          {b) nol llnoMt lo the COIIIINl'IY. not IIICOlded in the public l'eCOl1'I It Dale of Poley, but k,-n lO ttie -.nd dalmant and not disc:toeed in wfiting
                to the Company by the lnlurlld claimant pnor lo the dlli8 lhe inluAld c:lalmanl beCame an inllnd infet' this pollc:y:
          (C) AIIUl&lg In no lolS ordlffllQII to the insunld c:lalmant
          (d} attadling « tleal8cl IUlllequenl to Dale of Po!ic, (CIIIC8fJI to 1fle ftlenl M lhil pollcy Insures 1fle p,ioflly o/ lhe lien of the inlured mo,t-;iage
                 over any mtu1ory lien for &Mllces, labor or material}; or
          (e) IIIIUllrla in loss or damage which~ not haw been IUSllln8d if lhe lnlU'8d daimanl hid paid value for 1h11 insl.Ad mortgage.
     4. UnenfoNleabilly of lhe len of the inllured mortgage because ot the inabllily or failure of lh8 insul8d al Dale of Pollc:y, "'the inabllily or lailtlle of any
          subleql,enl owner of lhe i11debted11esa. to comply wllfl applicable doing bulinesl llws oflhe tlata In which tht land la silulled.
     5. lnvalidlly or ~ of the lien of the Insured mortgage. or Claim thereof. which ariles out ol lhe lnlnNCtiOn evidenced by the lnsl68d
          mortgage and ii baled upan usury or any tonll.llllll' CNldll prolectiOn or tnJth-ln.lendin IIW.
     8. lw/ ltalUlOIY lal for l8MC8S, llbof o, mllerilll (or the dliln of p,IGrity of any statuay lien tor 8IIM0III, lab« or fflll8flall over the lien of Ille
          lnaul9d mortgage) lrillflg tom In impnMrnent arworti: talllld IO the land which is COl1lr'ld8d for and c:ammeilClld lublequenl to 01118 of Poky and
          ii not financed In Whole or in part by proceeds of the indebledllllS SIQlf9d by lhe lnsunld mo,tgage which al Dale of Policy a. Insured has
          ldvlnc8d Of ii obllgatecl to advlnce.
     1.   lw/ c:IUII. wtllcll lltse:a out of 1tle transaction auting the lntaralt of lhe fflOf1glQee insul.i by this policy. by ruson of the operation d fedllntl
          blnllnlplcy. ltN inlolwlnc.y, or slmllr creditors' rlghla laws.. that II based on:
          <•> ltle lranuctlon o98llng the lnlel9't ol the Insured fflOIIOallee being dNmed • fraudulenl corn,eyance wfraudUlenlnnste,; or
          (I)) the IUboRtlnllion of lhlt inteAISt of the ina.ued mortpolle DI raull of h applicalkll, d the doclrlne ol equilable ILlbordlNlior,; Of
          (C) lh8 tranNC:tlan creating the inlel'IISt ol Ille fnsunld mortgage& being deemed I prelilf8ntial irlnllel' except wtllll9 Vie l)mll9nllal nnsler
               ,.... tom lhe faillft:
               (I)     to timely r80CRI lhe lnlCrument of lninlflr; or
               (i)     of IIUdl l90Clldalior, to impllr1no1ic810 a IQthlMr tot value or a judgmenl or 11ert credllor.

    AI..TA Loan POiicy (10/17/92)
    With Florida Modifications                -,_
    Fonn 1191-71                   {)._ ,,.,. /                              ORIGINAL                              Valid only if Schedules A and Bare attached
                               Case 23-16706-PDR                                   Doc 22-1                Filed 09/18/23                    Page 6 of 62
                                                                              CONDITIONS AND STIPULATIONS
1.    Dl!J'INITION Of TERfil&.                                                                        4.    D£FENSI! AND PROSl!CUTION OF AC'llONS; DUTY OF INSURED
      ThefQllolling~when used m ltltr.pollcy rnt'all"                                                         CLAIMANT TO COOPERATE.
      {a) "IIIIIIJCld"' Ille inAUNCI -'IIOd in Schedule A The l8flll 'IIISUlf,(f' also                        (I) \Jporl wtillln reQUC!SI ~ IN insured and subjed Ill tlle Cll)IJons
                                                                                                      00lllained In Secliclll 6 ol llleM ConditioM .and SbpUlations. tho Company. at ,tr,
lndudes
             (i)     Ille°"""' OI Ille ~ secured by lhe insured~
and each aucceuor 111 -.fllllip or lhe lrldeblednHs 8lloept a succeasor who 11
                                                                                                      own cost and willlolil unl8NOl'llble delaY. lhall p,ovide             '°'    Iha def.- of sn
                                                                                                      insured III llligalioll III which ariv Owd pllfly asNfb • claim .i-se 10 1t1e lltle or
an obljgor under the prCIWIIOIII of Sedlorl 12(c) ot 1hese ConditlonS and                             intelwt as irlstnd, but only 81 IO lhOse Slllecl cau,n of actlQft llletlillll a defect.
Slif)ulatlon1 (tnel'llng, ,-ver, al righls and def9nMI a to any -                  lhal               lien or 4IIIQllllblaa or Olher matter insurad against by 1111s policy. 1he COrnpany
Ille Company 1IIIOllld have had age1ns1 any preGeceSsar IIWUNIO. unlesl ltlo                          811811 haw the lighl lO Mlec:l 00llllMI Of Ila dlOl00 (lllbjec:t lo the light ol lhe insured
IIICCU90J ecqunc1 the indeblednels as a pu,wse, for value WilllCIUt knOwleClge                        lo object for ntalOllallle caUHJ to 1..-U lhe ~ as lo those 9talld cause•
or the Daerted detect. lien. IIIICUflll)r.an. ari-ae Clliln or ot11et lllllbr ll'ISUl9d               of action and lllolll llClt be B1b1e for and WIii not pay lht fees of any olller counsel.
apn11 by lhlS pollcy a affecting title to lhe eslat9 or 1111e101t in lhe land):                       The Company will not pay t/tly fees, costs O< e"flllllMS inc:urred by lhe 111511111d Ill
             (~}     any gowemmen1a1 agency or peminentat lnllr\ll'llllllalwllieh                     Ille def9nSe ol IIIOIMt cau- of action wlllCh lllleQ8 niattera fl0t il19Ullld agalnlt by
ii an irlSUlar or QU8IMkJr under an 11111nnc:e conlrlld or guaren1y inlullng or                       lhls pDlicy
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theAIOf. whelllel'ftlfflld esan intlll8d herein or nor;                                               prosecute any lldiarl o, proceeding or IQ do an, Olher act whlcll in its opinion may
             {iii)   1118 parties dellgnllled in SediDn 2<•> 01 these CondilionS and                  be nec;naa,v or <IIIIAlllleto establllh the lille 1o11111 estate or inlefall or lie 11111'1 or
Slipulelion$                                                                                          Ille in,u,ed fflOl'llllll8, u inalnd. or to sw-it or rwclwe kll6 or damage lo Ille
       (b) •insured claimlnr'. an illw-ed e1a1111ng Iola or csamage.                                  inued. TIie CGmpany may take any appropiiate action under the IMll'ls of this
       (C) "knOwledge" or 'blown": aclUal iu-ledga, nol c:cnstrud1¥1 lloowlodge                       pallcy, wllltllMlr or not ii llhall be liable l'llreunder. and 111111 l10t lherlby concede
or 11mict which ny be impuled to an insured by IWSCIII ol lhe publlC reconlS 11                       Nbllily o, Wllliwe an, p!OWIIIOII of 1hlt policy If I l l e ~ 1111111 ~ di rights
defined III this policy or any Cllher l9COfds which impert COlll1nldive nolf0t of                     under this panigqph. it lhal do IO dlllgen!ly
nlllllln alfedlng ltle land.                                                                                  Ic) Wlwlewlr the Company Shall have broughl an action or inlarpoNd
      (d) "l,nd". the llrlCI described OI l1lfern,cf to In Schoclule A, MIii                          deftlllle as f9qllll'lld or pennl1led bf the p,owiliolls ol 11111 polrcy, Ille Company may
irnpnMmen1S alll¥Od therelD Ylltlldl by IN CXIMlilule rNI prope,ty. Tlllt 18ffll "land"               P111SU1t an, liligallon IO llilel delem'lltallon by a court d compelanl jUrltdadllln and
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in SchelUe A. nor any 11g111. blle. mterest. . - or eaaement N\ abutling IIAlela.                     judgment or order
IOllds. 8VIIIIUIS. alleya. lates.. waya or wa1aiways. but llOlhlng hefein Shall modify                        (cf) In Ill cases where this policy permila or iequires the Company to
or lma1 Iha utent to wlllCII • nght of ac:cesa IO and from !he land is lllllnd by lhil                plONCUle or prowdll for lhe defense of any action or proceeding. Ille inlured shall
policy.                                                                                               lleClfflt III llle COmpany lhe right Ill Ill prgsecule or provide defense in lhe action or
      <•>    "mOl1gage": ~ deed Of ""91. lrutl doed. Of Olher sea.rity                                proceeding. and al appeals 1ha'ein. alld pe,1'111 the Company to 111111, at ii$ option.
inalrumanl                                                                                            Ille name cl 1h11 inUed tor it,is IIUfllOM. IMlerlaver AlqlleSlld by lhe Company,
       (I)    "pUblic n,conls": _ . ataDlish8d under s&ale lfallUtes al Dale of                       the lftsunld. at Ille ~ · s e,qiei,se. shall a,ve 11111 Company al reasonable aid
Polley fat the purpou of l'lllJattin9 ~ IIOIIC4 of matters relnng IO ,e,il                            (I) in any ldlon or p,OCNdllig. securing evidence. obtaining Mtneases. proaecullng
property lo ~ fo value and ¥ldhou1 koowledge. WIii rtlplCt lo Section                                 or defending 1he 8CIIOrl or proceed,ng. ar effecting ll8llllmlfll. and fll) ill any Olhel"
1(1)(111) of Ille EJIICMiOnS From Cowrage. "puble nlC0llls" shall alao tnClude                        lawful act which in the opinion cl lt.e CompaflY may be - N I Y ar d8lirable IO
envircnmental piolediolt liens filed In Ille nac:ordl of Ille deltl al Ille Uniled Stales             eslablllll Ille 111111 to 11111 estate or lnllNMI or the lien d Ille ineUfed mortgage. ea
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        (g) ..,,....._bility of tile title•: a11 llll8g8d o, apparent maller alfecling !he            ,aqulred c:oope,lllion, 1h11 Company's llllligallOIIS 10 1he insured Llllder Ille policy
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to be rele89ed fr0lft Ille obllgallon IO pun:llase by 'l'llue a COlllrilCl\lal condl1lon              &.     PftOOF OF LOSS QR DAMAGE.
                                                                                                              In eddllion IO and alter the IIOlices requwed Ullder Sedlol'I 3 of these
2.       CONTINUATION OF INSURANCE.                                                                   COlldlllollS and Sllpuleliolla have beell provided Ille Company, a p,oor or loll 01
        (a) Afw Ac:qullltlon of TIU... TIie CIMlfaglt ol tis pollcy shal c:onlllluo 11>               damage siglled alld sworn lo by Che ll!llll'ecl clalmallt shall be fumislled to 1hO
force • of Dato of PGllc:y in r - of fl) an inlufed WhO acqu,u all or any PIil of                     Company WIIIWI 90 days llfllw Ille lllaurecl c:lllrNnl tllal ascenain lhe fadS giving
Ille lllfalll OI illterH1 VI the lalld by foleclosure, lniSIN'S SIie. CIOllwyallC8 Ill hell Of        -     to the loss or damage. The Plod of IDs. or damage llhall describe Ille defect
loraclosln, or otner leglll manner MIICh disChargel Ille lien of the Insured                          in, 01 lien or tlllCUlllbrance on the bile. or Olh.lr l7lltter insured .,nst by ttlir. policy
mortgage; (iJ 8 tranlleree ol the eslale or inllelelt IO 111:qUnd from 811 inSuf8d                    which CQfldlutea the tlllals of bis or damage and shall stale. ID 11111 extenl
co,po,alion, prorided Ille 1r8llll'9fee ii the pa,ent or whOlly,ownect aublidiary ol lhe              possible. the bait ol calculn'IQ lhe amount of the loss or damage. II the
irllured C01prnfiol1, and their corpcwa1e 8'ICICMIOl'I by opara11on of raw and not by                 ~ n y ii J)nliucllced by the fllillne d the insured Cllllifflant to provide the lllqUlled
purcllate. IUbject lo arry rlgtlll or defenHS the Company may t..-. against 811Y                      proof Of ton or dllmage. tho Companf• obligatlons 10 Ille illsUled under Ille policy
precleceslor IIIIUl9ds; and (ii) •IIY pe,rime,tlal 111111CY or ~                                      shall litrl'llnlllt. lllCluding any liability or obllgltion 10 defll'ICI. prOIOC\lle. or continue
ins1nlnwltalily whlcll acquirn " or ariy part of lhe estall or tnllfllll pumuanl to a                 any kllgatlon. will! regald to the mallar or maltels l8qllillng sudl PIOQf of IDA or
conlnld o f • - or guann:y lnlurillg or guar""'9ing 1111 1nclelll9dtiesa                              Clamlge
UClll9d.,, the inSufad mortgage                                                                              In additillll. llle insured Clalmant llllt)' l'lllSOl'lllblr Ile r,tqUired 10 lllbmlt lo
        (b) Aflw Convwy.- of Tltlo. The co,,era,ge Of lhil policy 1111111 CDlllll'lua                 euminalillft under oath by 1111y aulhorlzed rep1e1eutaM of Ille Company and Wit
In forQ II of DIiie of POio/ In favor of "'1 insunld Clfllr IO tong • II» imuled                      produce for ~ . ~ and copying, a IUCh reasonable llm8I and
letains an ""'8 or lntefelt !II the land. or holds an uldebledl1911 sec:uted lly a                    pi.-- •• may be deliglllled by any alllhori2.ed ,aprasenr_.,. of lhO Company, all
pwclllN money mo,1glge gi- by I ~ flam Ille inllnd, OI od,y IO tong                                   NICOl'Cls. bOofcl. lldgen. dlecks. 00INISf)Olldellce and l1WIIOl'lnda. whelher bearing
as the....., ll'lal i - illlllllty by.-- ol c:over1lflll of wananty made by the                       • dale before or        or   Dale of Polley. whictl rusona111y pertain to the bis or
 r.sured in.,, lnlllSler or COIMlyllllCe of lhe oalalll or lllbllell TNs POkY ahllll not              damage FIA'ther, if rllq\l8Slld 11y any authoflud ~ l l t l V e of 1ml Company,
CllfltrnUe III lorct in favor of any puldlllllll lrOffl lie il\sulea of eilhe( Ii) 1111 estlll9 or    the .-1C1 d,iinlant 111111 g,ant Its pernlSlion. fl writillg. for arr, aulllOri..'"ed
.-... in Ille lllld, or (ii) 111 illdllbledlless MCUfld by a l)IRhaN ,,-Y rnor'lglge                  lepteSellt8lrie ol lhe Company lo eicamine. lllspec:t and oopy al NICOrdt. books,
givell to the lnlured.                                                                                ledgers, checks. ~ and memoranda in Ille cutlOc!y or ~ ol a
        (G) Amount of IMurance. The lfflOUlt of insUtallce after the ac:quiaillon                     lhinl pany, whiell reaacinably pe,tain ID Ille fQu or dmnage Al information
or_. thec:ic,nwyance shall in neither - s ellllNd lhe 1181lof:                                        design8led • conlldllllial by the irllUled c:lllimant PIOVided IQ Ille Company
                (1)     llleAmounl of tnsurance staled in Sdledule A,                                 iu-nl to 1h11 SeclDI lhall llOl Ile dildoled IO Olllefl unless. Ill the ,-l9ble
                (I}     the amoun1 of the princ:ijlal d lhe llldetllaclnell leC:IINld by Ille         JUdgment ol lhe Company, ii II necesaa,y in the adminiltrabon d lhe claim. Failu<e
 inllnd fflOltQage u Of Date of Policy, inlllNISt theNIOn. elll)IIIUI of fOnlclolure.                 ol Ille ll1IUAld diimanl to IUbmit for examinaClon undllf oath. produCe oOler
 8fflCIUllls ollMl1C8d PlftUIIII lo the inSUAld mo,tgage ID 11111ft compliance Wl1h                   reuonably 11Iquesled inlolmllfiol! or grans pemisl1oll IO secure reasonably
 1aW1 or 10 pioted the lien of 1t1e insured rnanpge pnor 10 the lime of acquieitlcln d                _ , , lnfolmalon flOm 1lllrd pe,1los aa required kl Uu peragrap11. unlesl
 1111 IISlall or illter8St in the land 111111 SOCUf8d lh«eby and niaul8ble MIOU!lls                   prohibited lly r.w, or gowmmental regulation. WI ternwww any liabilily d Vie
 eJqllllldlcl to prewr,t dateuoration of ilnplovemenls, but '9llll0ed by the amount of                Company under Chis poller u to lllaldllim.
 al payments made; or                                                                                 &.    OPTIONS TO PAY OR OTHERWISE SETTU! Cl.ANIS;
                (iii)   the ,irnaunt paid by lllt goven-181 agency or gcMll'IWIMllal                        TERMINATION OF UMIUTY.
 inSlnlrMnlllltY, if the agency or IIIIIIUmeflllli is the insured c:laimalll III the                        Ill case ol a dam under lhis policy, Ille CCJ111C81Y shall have the IOllowlng
 acqlMlli0n of Ille eslale or inlieteSt in aa1lacllon al Ila insurance conll'ICI or                   addilionll C)Slllonl:
                                                                                                             (a) To ..., or Tender Payment of the Alllounl of ln1un..- or to
~TICE OF CLAIM TO BE GIVEN BY 1NSUR1!D CLAIMANT.                                                      Purcllas• the lndebflld-
        The ln9uftld sllal nalify lhe ~ p,omplly in wnling (I) in c:ae ol atty                                      (1)     to pay or l9ndflr payment ot lfle amount of insurance under tllia
lltigalion II IOI IQrth in Secliotl 4(a) below. (ii) In cne llnOWledge 111111 ccme to 811             policy logeltllr'willletry COIIS. eltOmeya' fees 11111 expenws illCllfflld by Ille in8IIAld
irlllnd het'8UlldlJr of •IIY claim of..._ « illlerest wtllch ii IICMIW lo !tie tllle lo tho           claomlnl wfllch - . aithoril:ed 11y Ille Company. up to Ille lime or payment or
etlllll or intentet or me lien ol b inlunid 111011ga,ge. • illlurad. and Wllll:h might                aender ol payment and which the Company II obligated IO pay, ot
~ - kits ar dalmage lor which Ille Company may be liable by WWII of lhil polley.                                    (ill to purdla9e Ille indebledtieas secured t,y 1h11 insured mortgage
ar (iii) It liGe to Ille IIS&ate or 111181911 or 11111 lien of lhe inlllled lllClltgage. • inlUled.   far the amount owing tllenlon togelher wllll any COIII. attomeys' foes Ind e,rpenses
is . . . . . ~ - If pRlll1ll l'IDll08 stlall not be giWWI IO 11111 Company.                           ineurnld !Ir Ille lll8IHd clairllatlt llllhiCh -   aulhori:ed tr/ the compa!ly 11P lo the
1111n • 111 flll Insured al liability d the Company Sllal temlnale wilh iegn to the                   tme ol puldlale 811d wllldl 1h11 Company ill oblgaled IO pay.
llllller o, matters for wtllCII P"lfflPI notice• tlqund; p!Ollided, , _ _ _ lllal failUre                    11 lhe Company Olllelt topwdlaselhe inclebledlllta N he!lin pnMded. the
lo IIOllfy 1118 Company shall Ill n o - proJudlCe llle ngllla ol-, IIIIUled under 1tMI                a - ol lhe iodebtedoess lhlll trlllSI«. assign. and convey 1h11 lndebllldness and
policy llllleU "" Coqiany shll b9 pllljlldiced by the failure and lhan only lo the                    Ille insuled ll'lllltgagO. IOgelher WIii! any c:olleleral aea,rily. IO Ille Colq)any UCIQI\
exlent ol lhe pn,iudlae.                                                                              payment tllertfor.
                                                                                                            Upon Ille - - by ffl8 Coqlany of littler of the opliollS provided for Ill
                                                                                                      pi,rag,apha a(I) Of fli). . . latNlity and obllgaliclts 111 . . INurlld Ulldclr Ilia policy.
                                                                                                      o111er lhan Ill ma11a Ille Pl,ffl8llt n,qund in those panigraptls, shall termlnalll.

                                                                                                                                                      COntln<¥d on n,m -          ot COW'III' Sllellf
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                                            Lawyen Title Insurance Corporation
                                                         MORTGAGEE POLJC.T
                                                               Schedule A
          Policy No.:                                                                                  Agent's file Retcn::nce:
          213081                                                                                          05-64 Sanders


Effective Date:          April 15. :!00.S, or the Jate and time Clf recording of the insumi mortgage. whichewr is later.


Amount of Insurance: SJ J3,000.00

I.       Nnmt of IO$Ured:         Wells Fargo Bank. N.A.


2.       The ~ale or interest in the land describl.-d in thi." Schedule and which is encumbered by the insured mortgage is a ti.~
         simple cifother. i.-pecil}·samc> and is at the effective d~ hen:ohested in:

                Ralph Sanders


3.       The land n:fem::d to in this policy is i:k.-scribed a.'> follows:

                Lot 22. in Block 4. of PI.ANTATION PARK 10TH ADDITION. accordini to die Plat tlwrco1: a-. rL-cQr<l.:d
                in Pint Book 55. at Page :n. of the Public Ktcords QfHroward County. Florida.


4.       lbe mortgage. herein referred to as the insured mortgage. and the assignmems thercot: if any. arc d1.-scri~-J as follows:

                Mortgll!,re in the: sum of SJ 13.000.00 from Rolph Sand1.'>f'!i, a sin!!,lc man to Wells Fargo Bank, N.A. dated
                April 11 . .:?005. tu be n.-cordcd in the Public R«ords of Broward County. Florida.




                                                                                                  Ag~n, No.: 12.J0279

                                  ls.-.uing Aga:nt:

                        All Coaaty Title Senices, In~.
                       2200 N.W. Corporate Blvd.. #401
                            Rota Raton. FL 33431




Furr1t M/'-.\l'H..-I
lh'\\ 1/'Jt;I                                                                                                              DoubfeTknef>
                    Case 23-16706-PDR                 Doc 22-1          Filed 09/18/23            Page 8 of 62



                                         Lawyers Title Jnsurance Corporation
                                                       MORJ'GAG.HE l'Oll<-T
                                                             ScheduleB
            Polk.")' Na.:                                                                             Agent's file Reference:
            223081                                                                                       05-64 Sanders


This policy d,lL"S f10f insure against loss ar damage by rc-J5'1n of the fullt1wing:

I.         lltc lien of all taxes for the year 2005 and tht-re-Jfttr. which a~ not yet due :ind payable.
2.         Right!! oftenant(s) in pos~'!ISion. if any. under lea.~s) not rc«:orckd in the Public Rl!COrds.
3.         Any adve~ O\\ncrship claim by the State of Florida by ri@hl of SO\'c:rcigmy to :my portion of the lnnds insured
           her1:under. includini;. submerged. filled and artificially exposed lands. and bods accn:tt.-d to such lands.
4.         Matters as contained on the Plat of PI.ANTATION PARK 10TH ADDITION recorded in Pint Book 55. page 21. of
           the public records of Broward County, florida.
5.         Covenanls. restrictions, conditiuns. reservations. easeltlffllS. liens for nsi;c:s.,;mcnts and other provisions sea forth in
           instrument recorded in Ofticial Records Rook 2389. f>at!e 203. re-re1:orck.-.J in Official Record-. Book 2410. Page 816.




1-i""' Ml'•.\'t,.'/1. H
,,..,._ -lffll)
                                                                                                                        DoubleTll'lwe
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          Fl.OR/DA ENDORSEMENT FORM !I (3117191) fRESTR/CTIONS. EASEMENTS. MINERAi.SJ
                                                Lawyers Title Insurance Corporation


 1~1,,'}1.-r~ Till.: lnsumnce Co'J'\tfUlilm im,111\.'S the owm-r oft~ iruk.•hMim..-ss sa."Un.-J by 1hc insun.'1.1 nx,n~ttte lll!,Ain!lt k,ss or d.~.: si1Slai1u.-J
 hy reason ol:
 I. Any in1."t•rTL.-Ctness in the 3$\lr.Ul~ that. al Date of P,1lky:
        (a) Then: arc no ctm.'IUlnt, c,,nditions ,1r r1::ctric1ions ulkkr whirh lhc lien of the monga~c rerem-J 10 in !'ichcdulc A ,·an be di,>c:)"tCJ.
               sutiuniinalL.-d or extinguished. llr iL~ ,hJlidity. rriority or r:nfom.--.shility impair\.-d.
        (hi linle!-HXi,te:illly l!'<tl!ptcd in Sc:hL.-dulc 8:
               I I> ·111L.-n: ftl'I: nn pr~11t ,·iulatitlns on the land or any cnfM1.'llhle coVL."llWtts. cundilions or n.·strii:lions. 1111r Jo uny .:.'liistinp
                      i111pr,,,·cmm1s 1m the land ,iulatc huildintt Sl.'lru:k lines shown NI a plat of suhdM.,;iun n.'\:onk-J or 1il1.-d in the puhli, M."Ol'd:l
              {.:!) An~· i11i.1rum.:111 relcm:J to in Schedule 13 a,,; c,mlltinini a1vc11:.m1:.. conditions or n.-slriclilm~ 1111 the lilllJ dt-.cs n,,t. in :iJJi1io11.
                      ( il 1.'Slabli!Ch au ca~'IJll."111 "n thc land: 1ii l rnwidc a lien for liquiJarc:d cfamago.-: t iii) pro,·iik for a prh':llc rh:lrgc or
                      lb."iL~'il!ICnt: IM provide for an uption to rurcha..;e. a ritilit or lirsl n:lil:i;tl ur the prior a,,pnwal ol' 3 !inure rurc:ha.,;er or
                      occupant.
               13 J There ii. no 1.'ltlTOUC.-hmcn1 of aiMing impn1vcID1.-nts lui.":lkd on the la11d un111 Dd_ic1ininl! l:md. mw 1111y cncnlOChffll.'111 unto tl1<:
                      l.tnd llf.:xistiug imptn\~•~ IOL.-:ttcd on adjoining laud.
               {4 l 'flk'T(' is nll ffll-niachlllfflt of aisling iRlflJ'n~mcnt" locatL.-d on th.: lanJ ,,,.,., tb:u ror,ion of th.: land suhja.'I h.> ,my O:-.tl1Ct11L'flt
                      c-:(C1."Jlf1.-d in Schc:dulc H.
               tS > There ure no Jltltire!I of ,·iolali1m,- of 1.-uV1."1131lL~ 1.uklitions and n.'Slri1.1Klll" rcl11tin{l to ..,1,·ironn1c.11tlt protc1.1ion l'l.'l:ordi:J in
                      t~ public t\.'L.wd.~.
2. Any future violari<1t1 on 1h11 1311d of an ~-xisting. CO\'m;mt. a,nditiru, or l'l."lllril1io11 t'll.-cuninr prior f(I the acquisition ur tit I.: to lhl· nitatc ur
        intcn:sl in 1hc land. pro,·iJ1.'tl 1k violation rc:!1Ult" in:
        (111 in\'a.liJity. loss ofrriorit)' or cnforceahilily of1hc lien uflh.: in¥Un.-d ffl\\r1plte: or
        (hi lo...-s dfti1k: tt1 the ci.111tc or intcn."SI in th.: hmd il"tlk.- insun.-J shall acquin: title in ~i!ctiic:1ion ofth.: indcbtcdl~ Sl.'Cun.'Cl h~· the
               in~n-d nklftpgc.
3. l.>amugc 10 cxi~illll impro,~nlS tc:.,:duclinl;! la\\n.o;. shrubbery or ll'C\.-:t):
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               n."Slllls from rhc .:Xlttisc ,,t' ti~ ri~t to mainf'.tin lhc c."aSm:L"llt for the pu~ for which ii \\3S L:nlnh.-d or fl~l'\'..-J: ,,r
        lh) which n.~ulL"' fmm the future .:xm:isc of :my righr 111 WiC too suni11:c ,1f the land for the 1.-xtmction or J.."'·,:lo~,t of min'-"l'lll:-
               ~xcq,t.:d fron, the dnl.:riplicm ufthc land or cxc1.-ptcJ in Schcdul.: B.
4. Any final cuun or,h."t' ur jud'1!11:11l n.-quirin!,! 1hc R.'fllll\'31 ti\lm any l:md adj,1inini th.: land llf any cncrocb:hmcm C."-'¢l'IL'IJ in St:h..'\Julc U.
,. Any linal cuurt unkr ur judg.trk.-nl denying th.: righl to m:aintuiu any .:."i:.1i11i: impnmm11.-nt on lhc lanJ ~'1::W~ or any vir,lation of
        CllVmllllts. conditi00.'1 11r l'l"511'k.'1iim:c nr ltuiktini llClh.ick lines sho,,,, oo u plat ohubdivisi,•n m:urcJ.:d or tilcJ in the puhlic m;urd-i.
WhL'f\."l'1..T in this cndo,~'1111.'!lt th\! won!s '"cll\'Cflaltl'I.. rondi1fons \..'I' fl.-SlriL.1ion.,;• appt3r. 1tt...~· AAJ1ll n1.11 be cJ..-,:mni i., retcr to or incllllli: the
tcnns. cO\\.'n:lllL'I.. ~·m1Jitiun!- or limira1ions 1.'011lltin.:d in :in in.-.trumcnt cn.-atin~ a le-.Lo;c,
As used in paroi?fnph lthx I I anJ !>. the W\trds ~'-"<m..'tlants. cooditivns or ruslrictiun.-." $11:tll not be Jei.•mcJ t\, n:fL-r lo or includc :111y
co\'l:ruuus. condition~ nr rcs1ricliuns rcl11tint 1,, etn-in>nnk.'11l31 prutL.'1:lion.
-Oti.'- cndlTil:Jru.'ttl is made: a pun of the polk~· ond ill whjc'-1 t1> rul of tlic 1cnn,;. lllltf rruvi:dcw thl"l'\:llf und :u1y pril'lr 1."fkfol'Sl.'111Cnt.s thcn:!o.
[:,.1.-cpt tu the 1..-xt~nl L."Xpn..."ISly lllat1.-d. it ncitbl.T modifies an~· oftlic t1.T1ns lllld 11""·i.-.ion~ 1.1fth.: rolk'y 1u1d any pri,1r 1."0J\>r5':llll'lllS. n(lr dm.-:-; il
cxt1.'IIJ 1hc Eff'CL.1ive Date of lh~ policy and ;.iny rrinr cndor.c.."IJ~K nur du1.-s ii inc~o;c the foc.-c amount th.:rcof.




                 All County Title Services. Inc.                                            April IS. 2005                                   ll-4ft279
                        Name of Agent                                                               Dale                                     Agent No.


                                                                                                                        L11wyen Title lnsurantt Corporation

                                  nfs Signature                                                                                              l'rc:sidc.'111




/-1,,rld,1 F..HJvr.-e-111 ,--_ 9 (J!1':/'J1I fi&'.'111'k·1ial1.t. J::,:u.:,,,..,w, Min.T11lsl (/-'FIii (n•i: .~19./J
Fik: Nwnb.."r. 05-64 Samknr                                                                                                                                      Doublellme®
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                  £Nf"/RONMEN1'AI. PROTEC110N LIEN ENDOR,.'iEME.NT (.4.l1:-l Furm 8.JJ
                              Lawyers Title Insurance Corporation


Endorsc:mcnt No. 2 to Policy No.: 223081

'Ole in.ciurance afforded by this cndur~·mcnt is only cfrective if the llllld is used or is to be U.'lt-d primarily for l'ellidcmi11I
purposes.

Lawyer.; Title Insurance Corporation insures the ins1m,.~ against loss or damage sustained by reason of lack of priority of the
lien <Jf the in.-;urcd mnngaie \Iver:

     (a) any cnvironmcni..,I protection lien which. at Date: of Policy. is tteon:tcd in till~ rt.-cords estahli!lhed under state
         statute. at Date of Policy for the: purpuse of imr;srtin(! construaiv.: notice llf matters ~lating 10 real property to
         pun:ha.~ for value and withllut knowledg~. or tilcu in the recorJs of the clerk of the United States district court fur
         the district in which the land is located, except a., set forth in Schedule B: or

     tb> any environmental protection lien pmvid~ for hy any state .s1atutc in cffi.-ct at Date of Policy. except en\•in.,nmcntal
         pflltcctil1n lien., provick-d for by the following state statutes:

                                                                   NON£

This endorsement is mude a part of the policy and is subject to all of the t~n.-. and pnwisillllS thereof and of any prior
cnd<>l'S'-'ffl~nts thereto. Except 1t1 1he c.-xtcnt i:.,prc."5Sly '!itated. it neither modifies any or the: tenns anJ pmvii;ions of the policy
and nny r,rior endorsements. nor does it extend the cffi.-c:tive date of the policy nnJ any prior cndurSt.-mcnts. nor does it
increase tM face amount thereof.

In Witnl!SS Wherc:of. l.-1\Y)\."fS Title lnsuran~ Corporation has c.i~ its nmne and scul to be he~umo alfLx~ by its July
uuthori.f.t:d Agent as of the dare s!Klwn herein. the etftttivc dare of this cnJom.-n'ICnt.




             All County Title Services. Inc.                                                                   12--40279
                      Name of Ag~-nt                                                                          Al,!1.-ntNo.


                                                                                              Lawyen Title lnsurantt Corporation




                                                                                                                              DoubleTimee
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                                                   PUD ENDORSEMENT
                            Lawyers Title Insurance Corporation

Endor.iement No. J to Policy No.: 223081

Lawyers Title Insurance Corpuration ~~-t,y insures agains1 IOliS or damage by n:asun of:

( I l Present violations of any restrictive covenanls referred t(l in Schedule B which nstrkt the use of !he land. ex~pt
      viol.itions relating to environmental protection unl.:ss a notice of a violation thffi.'Of has been n.-corded or tiled in the
      public r1.-cords and is not excepted in Sch\.-dule 8. Said 1\.-strictivc covenants do not conlain any provisions whkh will
      cause a forteiture or reversion of title.

(:n Any charges or ass..-ssmcnt-. in favor of ru1~· association l•f homcowntts which ~ pmvideJ for in any document n•fcrred
    ttl in Schedule B due and unpaid at Date of Polky.


I3) 1~ enforced removal of any cxi:i.1in~ structure on the land l other thun a boundary wall or lence J "'-.x-:iuse it encroaches
    onto adjoining land or onto any ~ment'i.

(4) The failun! of title by n:ason of a right of first n:fusal to purchase the land which was excrcis..-d or could have been
    exercised at Date ,,f Policy.

ll>is endursement is made a part of t~ policy and is subject to all of the tl.'lllls anJ provisions 1hereof and of any prior
endnrsc:menls thcrclo. f:x~ept to the cxt.:nt expressly staled. it ncith\.'r modifies any of the terms and provisions of the policy
and any prior cndorscntcnlo;,. nor does it extend the eff~-tivc date of the rolicy and any prior cnJorscm\.'Dts. nor du~s it
increa.,;e the face amount thcreot:




            All County Title Servkes. Inc.                                                            12-'0279
                     Name of Agent                                                                    Agent No.


                                                                                      Lawyers Title Insurance Corporation




                                                                                                                    Ooublellmef)
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                                                     LOAN POLICY OF
                                     I       I
                                                     TITLE INSURANCE
                                                                                                                I I
                                                                                                                               THANKYOU.
                                                     (with Florida modlfteatiOns)                                              rit1e 1nsurance provides tor the prmct1on of your
          ~                          llf     !II!    American Land Title Association (10/17192)                                real estate Investment. We suggest )'OU keep lhls
                                                                                                                               policy in a safe place where it can be readily
                                                                                                                               available for future reference.

                                                                                                                               If you have questions about title insurance or the


                                                                                                                I I
          I
                                                                                                                               coverage provided by this policy, contact the
                                                                                                                               off"10e that iSsued this policy, or you may call or        11
                                                 I
•.                                                   Issued by                                                                 write:

.,,                                                  Lawyers Title                                                             Lawyers Tltle Insurance Corporation
                                                                                                                               Consumer Affairs
                                                     Insurance Corporation                                                 1   P.O. Box 27567

          r
                                     I I
                                                                                                                               Richmond, Virginia 23261-7567
                                                                                                                               telephone, f06 free: 800 446-7086
          ii
                                                                                                                               wab: www.landam.oom
          ~                                                                                                            '       We thank yau for choosing to do business with


     I                               I       I                                                                  I     I        Lawyers Title Insurance Corporation, and look
                                                                                                                               forward to meeting yourfutuni title insurance needs.

     •
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          II                         I       :Jfi
                                                     LlwyerlllflhlMnnc:IColporllol'I                                           Lnyers Tltlt IIIN'lllcl Corporation

          ;                          I       I
                                                     is a mtmblr of 1111 LandAmerica family of tlHe Insurance
                                                     UI ldarW!hn.
                                                                                                                               is a member of lhl LandAmerica family of title insurance
                                                                                                                               undlrwlilars.
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                                                     a        LandAmerica
                                                              Lawyers Tltle
                                     s       II
                                                              LandMllrlca Flnanclal Grol!P, Inc. .
                                                              101 Galeway Cenn Paillway
                                                              Ricmlond. Vllginla23235-5153
                                                                                                                I 111                   LandAmerica
                                                                                                                                        Lawyers Title

               Form B 1191-71        di!     ~P.              www.lendam.com
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                          Specialized Loan


=
!!!!!!!
                Servici~
==                   Part of !he Computershare Group
                6200 S. Quebec St, Ste. 300 • Greenwood Village, co 80111                                                                                1-800-306-60 5
                                                                                                                                                         1-877-875-098



                I, •11111 11h•11 11hll1 111111 111111 hl'I 111 111 111 I 111 11 11 ,11 1, 11 •I
                                                                                                                           September 7, 2023
          I"- RALPH L SANDERS
          JJ 561 SW 60 AVE                                                                                                 RE: ·1018459424
          ::r
          CJ PLANTATION, FL 33317                                                                                          Prope11y Address:
=
==        Cl
                                                                                                                           5(3·1 SW 60 AVE
=         CJ
                                                                                                                           PLANTATION, FL 33317




                Dear Ralph L Sanders,

                According to our records, lhe above-referenced mortgage account is delinquent. Specialized Loan Servicing LLC
                ("SLS") is encouraging you to contact us to discuss possible loss mitigation options. Please call us today to J.3arn
                more about your options and instructions for llow lo apply. The longer you wait. or the further you fall bet, nd on
                your payments, the harder it will be to find a solution.

                If you need help, the following options may be possible (most are subject to investor approval):
                     Setup a repayment plan for your loan;
                     Refinance your loan with another lender;
                     Modify the loan terms of your loan;
                     Payment forbearnnce temporarily gives you more lime to pay your monthly payment; or
                     If you are not able to continue paying your mortgage, your best option may be to find more affordable housing.
                    As an alternative to foreclosure. you may be able to sell your home and use the proceeds to pay off your current
                    loan.

                For help exploring your options, the Federal government provides contact information for housing counselors, which
                you can access by contacting the Consumer Financial Protection Bureau at www.consumerfinance.gQv/
                niortqqgehe.Jp_or the Department of Housing and Urban Development ("HUD") al V11V-1W.hud._gov/offices/hsa/sfh/hg;j
                llcs.ctrn or by calling HUD al 1-800-569-4287.

                If you have queslions concerning lhis !eH-=:r or need further as~istance, you may conlaci Cudomer r~esolution at
                1-800-306-6059, Monday through Friday, 7:00 a.m. until 6:00 p.m. MT. SLS accepts calls from relay services. We
                provide translation services for individuals who indicate a language preference other than English. Se habla espaiiol.

                You may also contact SLS or request assistance at

                                      Mail                                                        Fax                     Email                Web
                        6200 S. Quebec St,                                            1-877-875-098 I                 crdocs@sll;l,net     www.sls.net
                   Ste. 300. Greenwood Village,                       (Page limit pm transmission is 2:'i p>lf)(<S)
                             co 80·111

                Sincerely,

                Customer Resolution Department
                Specialized Loan Servicing LLC

                                                    PLEASE SEE IMPORTANT DISCLOSURES ON THE FOLLOWING PAGE
                            Case 23-16706-PDR     Doc 22-1         Filed 09/18/23    Page 14 of 62
               Specialized Loan                                                                                 i

       ServicinS                                                                                                \
           ParJ of the r;omputorshare Group
       6200 S. Quebec St, Ste. 300 • Greenwood Village, CO 80111                                                    1-800-306-6059

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~      SPECIALIZED LOAN SERVICING LLC IS REQUIRED BY FEDERAL LAW TO ADVISE YOU THAT THIS
                                                                                                                    1-877-875-0981


       COMMUNICATION IS FROM A DEBT COLLECTOR.

       BANKRUPTCY NOTICE - IF YOU ARE A CUSTOMER IN BANKRUPTCY OR A CUSTOMER WHO HAS
       RECEIVED A BANKRUPTCY DISCHARGE OF THIS DEBT: PLEASE BE ADVISED THAT THIS NOTICE 15 TO
       INFORM YOU OF THE STATUS OF THE MORTGAGE SECURED BY THE SUBJECT PROPERTY. THIS NOTICE
~
==     CONSTITUTES NEITHER A DEMAND FOR PAYMENT NOR A NOTICE OF PERSONAL LIABILITY TO ANY
       RECIPIENT HEREOF, WHO MIGHT HAVE RECEIVED A DISCHARGE OF SUCH DEBT IN ACCORDANCE WITH
       APPLICABLE BANKRUPTCY LAWS OR WHO MIGHT BE SUBJECT TO THE AUTOMATIC STAY OF SECTION
       362 OF THE UNITED STATES BANKRUPTCY CODE. IF YOU RECEIVED A DISCHARGE OF THE DEBT IN
       BANKRUPTCY, WE ARE AWARE THAT YOU HAVE NO PERSONAL OBLIGATION TO REPAY THE DEBT. WE
       RETAIN THE RIGHT TO ENFORCE THE LIEN AGAINST THE COLLATERAL PROPERTY, WHICH HAS NOT
       BEEN DISCHARGED IN YOUR BANKRUPTCY, IF ALLOWED BY LAW AND/OR CONTRACT. IF YOU HAVE
       QUESTIONS, PLEASE CONTACT US AT 1-800-306-6057.

       SUCCESSORS IN INTEREST- IF YOU ARE IN RECEIPT OF THIS COMMUNICATION PURSUANT TO YOUR
       STATUS AS A SUCCESSOR IN INTEREST TO THE SUBJECT PROPERTY, THIS NOTICE DOES NOT MAKE
       YOU LIABLE FOR THE MORTGAGE DEBT. UNLESS YOU ARE PERSONALLY LIABLE FOR OR HAVE
       ASSUMED THE MORTGAGE LOAN, YOU CANNOT BE REQUIRED TO USE YOUR ASSETS TO PAY THE
       MORTGAGE DEBT. THE LENDER HAS A SECURITY INTEREST IN THE PROPERTY AND A RIGHT TO
       FORECLOSE ON THE PROPERTY, WHEN PERMITTED BY LAW AND AUTHORIZED UNDER THE MORTGAGE
       LOAN CONTRACT.

       Important Notice To Servicemembers And Their Dependents
       If you or any occupant of your home are or recently were on active duty or active service, you may be eligible for
       benefits and protections under the federal Servicemembers Civil Relief Act (SCRA). This includes protection from
       foreclosure or eviction. You may also be eligible for benefits and protections under state law or investor policy. SCRA
       and state Military benefits and protections also may be available if you are the dependent of an eligible
       Servicernember.

       Eligible servir,e may include:
                Active duty with the Army, Navy, Air Force. Marine Corps, or Coast Guard, or
            • Active service as a commissioned officer of the National Oceanic and Atmospheric Administration, or
                Active se1vice as a commissioned officer of the Public Hec1lth Service. or
                Service with the forces of a nation wilh which !he United States is allied in a war or Military action, or
                Service with the National Guard of a state militia under a slate call of duty, or
                Any period when you are absent from duty because of sickness, wounds. leave, or other lawful cause.

       For more information, please Gall SLS at 800-306-6059.

       NOTICES OF ERROR, DIRECT DISPUTES AND REQUESTS FOR INFORMATION (INCLUDING QUALIFIED
       WRITTEN REQUESTS}, MUST BE SUBMITTED IN WRITING TO: SPECIALIZED LOAN SERVICING LLC, P.O.
       BOX 630147, LITTLETON, CO 80163-0147




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                          Case 23-16706-PDR             Doc 22-1       Filed 09/18/23        Page 15 of 62
                                              THIS IS FOR INFORMATIONAL PURPOSES ONLY

            Specialized Loan Servicing LLC ("SLS'') is writing to inform you of protections afforded to servicemembers or their
            dependents under the Servicernembers Civil Relief Act. Please read the important information below:

            Legal Rights and Protec.lions Under the SCRA
            Servicemernbers on "active duty" or "active service,'' or a spouse or dependent of such a servicemember may be
            entitled lo certain legal protections and debt relief pursuant to tile Servicemembers Civil Relief Act (50 USC§
            § 3901-4043) (SCRA).

            Who May Be Entitled to Leg?I Protections Under the SCRA?
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                 • Regular members of the U.S. Armed Forces (Army, Navy, Air Force, Marine Corps, and Coast Guard).
                 • Reserve and National Guard personnel who have been activated and are on Federal active duty.
                 • National Guard personnel under a call or order to active duty for more than 30 consecutive days under
=
!!!!!!!!!        section 502{f) of title 32, United States Code, for purposes of responding to a national emergency Jeclared by
                 the President and supported by Federal f11nds.
                 • Active se,vice members of the commissioned corps of the Public Health Service and the National Oceanic
                 and Atmospheric Administration.
                 • Certain United Slates citizens serving with lhe armed forces or a nation with which the United Slates is allied
                 in the prosecution of a war or military action.

            What Legal Protections Are Servicemembers Entitled To Under the SCRA?
                 • The SCRA slates that a debt incurred by a servicemember. or servicemember and spouse jointly, prior to
                 entering military service shall not bear interest at a rate above 6 % during the period of military service and one
                 year thereafter, in tile case of an obligation or liability consisting of a mortgage, trust deed, or other security in
                 the nature of a mortgage, or during tile period of military service in the case of any olller obligation or liability.
                 • The SCRA states lhat in a legal aclion to enforce a debt against real estate that is filed during, or within one
                 year after the servicernember·s military service. a cour1 may stop the proceedings for a period of time, or adjust
                 the debt. In addition, the sale. foreclosure. or seizure of real estate shall not be valid if it occurs during, or within
                 one yer1r after the servicemember's military service unless the creditor has obtained a valid court order
                  approving the sale, foreclosure, or seizure of the real estate.
                  • The SCRA contains many other protections besides those applicable lo home loans.

            Mow Ooes A Servicemqmber or Dependent Request Relief Under the SCRA?
                   • In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or
                   spouse must provide a written request to tile lender, together with a wpy of the servicemember's military
                   orders. Please send orders lo:
                                                          Specialized Loan Servicing LLC
                                                                 P.O. Box 636005
                                                                Littleton. CO 80163
                                                               Fax: 1-720-241-7218

                   There is no requirement under the SCRA, however. for a servicemember to provide a written notice or a copy
                   of a servicemember's military orders to lhe lender in connection 1Nilh a foreclosure or other df:1bl enforcement
                   action against real estate. U11der these circumstances, lenders should inquire about the military status of a
                   person by searching the Department of Defense's Defense Manpower Data Center's website, contacting the
                   servicemernber, and examining their files for indicia of military service. Although there is no requirement for
                   servicemembers to alert the lender of their military status in these situations, it still is a good idea for the
                   servicernember to do so.

            How Does a Servicemernber or Oe_pendent Obtain Information AQQ.Y.tthe SCRA?
                 • Servicemembers and dependents with questions about the SCRA should contact their unit's Judge Advocate,
                 or their installation's Legal Assistance Officer. A military legal assistance office locator for all branches or the
                 Armed Forces is available at http;//legalassistance.law.af.rnil/wnte!ltl!ocator.p!JQ
                 • "Military OneSource·· is the U.S. Department of Defense's information resource. If you are listed as entitled to
                 legal protections under the SCRA (see above), please go to w1Nw.militaryonesource.mil/legal or r.all
                 1-800-342-9647 (toll free from the United States) to find out more information. Dialing instructions for areas
                 outside the United States are provided on the website.




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                                                      Case 23-16706-PDR                                Doc 22-1   Filed 09/18/23   Page 16 of 62
                   Specialized Loan

      Servicin~
            Part of the Computershare Group
      6200 S. Quebec St.. Ste. 300, Greenwood Village, CO 80111                                                                              1-800-306-6062
                                                                                                                                           tlll 1-877-875-0981



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I'-RALPH L SANDERS
CJ 561 SW 60 AVE
g  PLANTATION, FL 33317
CJ
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      Attached please find your documents from Specialized Loan Servicing LLC (SLS) . If you have any
      questions concerning these documents, please call us at 1-800-306-6059 and speak with the first
      available agent. Thank you for your consideration.




                                                                                   6200 S. Quebec St., Ste. 300, Greenwood Village, CO 80111
                                                                                            Ph: 1-800-306-6059 Fax: 1-877-875-0981
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       Specialized Loan

Servicin~
    Part of the Computershare Group
6200 S. Quebec St., Ste. 300, Greenwood Village, CO 80111                                          1-800-306-6062
                                                                                                 @11-877-875-0981



Second Independent Review of Modification Denial

If the this is your first evaluation since the account was last current, you have the ri ht to request a second
independent review to determine your eligibility for a loan modification. To ,       st a se nd review you must
send us your request in writing which must be received by us no later tha 09/08/2023. ease include a copy
of this letter with your request including any supporting documentation. If tti •            s evaluation since the
account was last current, and your request is received within the disclosed timeframe, we will not initiate or
continue with any scheduled foreclosure during the review. If we have offered you a home retention option and
the result of your second independent review changes the offer and results in denial your loan will be enforced
according to its original terms. This could include foreclosure. Your written request must either be mailed or
faxed to us as follows:

                                            MAIL                                FAX
                            Specialized Loan Servicing LLC                1-720-241-7218
                            P.O. Box 636005                       (Page limit per transmission is 25
                            Littleton, CO 80163                                 pages)



ENCLOSURES:

          • Legal Disclosures

The requirements for this evaluation were set forth and performed in accordance with the Pooling and
Servicing Agreement between Specialized Loan Servicing LLC and The Bank of New York Mellon, f/k/a The
Bank of New York, successor in interest to JPMorgan Chase Bank, N.A. as Trustee for Bear Stearns Asset
Backed Securities Trust 2006-SD2, Asset-Backed Certificates, Series 2006-SD2.

If you have questions concerning this letter or need further assistance, you may contact me or Customer
Resolution at 1-800-306-6059, Monday through Friday, 7:00 a.m. until 6:00 p.m. MT. SLS accepts calls from
relay services. We provide translation services for individuals who indicate a language preference other than
English. Se habla espafiol.

 If you have other questions about mortgage relief options that cannot be answered by us, please call the
 Homeowner's HOPE™ Hotline at 1-888-995-HOPE (4673). This Hotline can help with questions about the
 program and offers access to free HUD-certified counseling services in English and Spanish.

 Sincerely,

 Adrian, 13808
 Customer Resolution Department
 Specialized Loan Servicing LLC




                                                                                                                    rill
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Who owns the land

From: ralph sanders (ralph_l_sanders@yahoo.com)

To:   lgomez@plantation.org; sshalan@plantation.org; nsanchez@plantation.org

Date: Wednesday, August 23, 2023 at 10:46 AM EDT



Hi

I have been trying to resolve who owns the land on top of the east side of
the canal bordering Southwest 60th Ave from SW 6 Street up to SW 4th
Street.

Below are three surveys.
     1. 1961 Where there are boundary property corners on the survey
along with tie-lines for what appears to be a 10-15 foot wide public walking
path between the canal of my property.
     2. 2004 survey when I purchased my home
     3. 2023 survey.
The 2023 survey is very similar to the 1962 survey.

My question is who owns the land in the "tie land"
It is not on the Plat

The house is for sale (foreclosure sale in August) with lot defects.

Before the sale, I am trying to determine what the tie land is used for and
who is responsible for the land?

 Sincerely
 Ralph L. Sanders
 561 SW 60th Ave
 Plantation, FL 33317
 754.801.7097




]     561 _Survey_561 _sw60ave_City_1962_2004.pdf
      4MB


~
      20230730_Survey.pdf
      359kB


~
      2004 Survey.pdf
      1.1MB
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561 SW60AVENUE                                                                                                                     Page 1 of 1


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   Site Address          561 SW&0AVENUE, PLANTATION FL33317                                                         504111 13 0380
  Property Owner SANDERS, RALPH                     Milla                                                                2212
  t---------+-------------------1
  Mailing Address 561 SW 60 AVE PLANTATION FL 33317 Use •                                                                 01
   Abbr legal            PLANTATION PARK 10 ADD 55-21 B LOT 22 BLK 4
   Description
    The Just values displayed below were set in compliance with Sec. 193.01 , Fla. Stat., and
     include a reduction for costs of sale and other adjustments required by 1  193.011 (8).
                                              Property Assessment Values
                                        Building/          Just I Market              Assessed/
    Year           Land                                                                                                      Tax
                                      Improvement             Value                   SOHValue
    2020         $180,250              s1n.980                 $358,230               $244,940
    2019         $180,250              $177,980                $358,230               $239,440             I
                                                                                                           :1
                                                                                                                      $4,123.24
    2018         $180,250              $177,980                $358,230               $234,980                        $3,972.78

                              2020 Exemptions and Taxable Values by Taxing Authority
                                           County              School Board            Municipal                       Independent
   Just Value                             $358,230                   $358,230           $358,230                             $358,230
   Portability                                   0                          0                  0                                         0
   Assesaed/SOH 05                        $244,940                   $244,940           $244,940                             $244,940
   Homestead 100%                          $25,000                    $25,000            $25,000                              $25,000
   Add. Homestead                          $25,000                          0            $25,000                              $25,000
     dNet/Ois 0                             $1,000                     $1,000             $1,000                               $1,000
   Senior                                        0                          0                  0                I                        0
   Exempt Type                                   0                          0                  0                                         0
   Taxable                                $193,940                   $218,940           $193,940                             $193,940
                             Sates History                                              Land Calcu tions
       Date         Type         Price            Book/Page or CIN                                                                 Type
    5/12/2004       swo       $292,000               37500/386                                                                      SF
     7/8/2003       CET       $225,500               35583 / 515
    2/11/2002       swo       $174,000               32807 / 1310
     8/4/2000       CET                              30760 /741
    12/1/1987        WD        $125,000              15040/950                Adj. Bldg. S.F. (Card,                ketch)         2583
                                                                                                                                   1/3/2




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                                                   Special Assessments
     Fire         Garb        Light          Drain         lmpr        Safe         Storm                                      Misc
                                              p                                      PL
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                     IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN BANKRUPTCY DISTRICT OF FLORIDA
                          FORT LAUDERDALE DNISION                                       , )

In re:
                                                           "0«!};£ G"57 a5 M ft/J
RALPH LEVI SANDERS, JR.                            CASE N0~66-SMG
                                                   CHAPTER 13
Plaintiff Debtor.
________________;/
                             MOTION FOR CONTEMPT FOR

                               1. VIOLATING COURT ORDER

                    2. INTERFERENCE WITH THE BANKRUPTCY PLAN

      3. COMMITTING FRAUD UPON THE COURT BY OFFICER OF THE COURT

         4. DESTRUCTION OF TITLE INSURANCE CLAIMS AND POLICIES IN

          ADDITION TO NO KNOWLEDGE( OF TITLE INSURANCE From SLS legal

                                recording based on Florida and Fed)

           5. BANK NEW YORK MELLON HAD/HAS NO STANDING TO FILE

         FORECLOSURE DUE TO IMPROPER ASSIGNMENT OF MORTGAGE PER

             FIDELITY NATIONAL FINANICAL, WELLS FARGO WEBSITE AND

                    LENDER TITLE INSURANCE POLICY PROVIDED BY .....

AND NOW, comes the Debtor, Ralph Levi Sanders, Jr., by and through himself,pro se, to file




                          \f
the instant motion and in support thereof avers as follows: due to new documentation supplied by

City of Plantation city       Jlrtes(ew surveys
             Case 23-16706-PDR          Doc 22-1     Filed 09/18/23      Page 25 of 62



                                 1. VIOLATING COURT ORDER



I. The Court ordered and directed the parties to comply with what is known as the "Third

Amended Plan" which the Creditor has failed to comply with through the present moment.

2. The Third Amended Plan contains terms and conditions that the parties were required to

comply with, such as having valid Lender Title Insurance POLICY and proper assign

3. The Order came with a safe harbor provision if the case was dismissed which the Creditor has

breached by pursuing action against the Debtor prior to the conclusion of the same.

4. Furthermore, there was an indication that the Debtor would receive credit for a pro-rated

amount that has not taken place.

5. [I]n order to ensure the orderly administration of justice, [a district court] has the authority and

responsibility to set and enforce reasonable deadlines." Lowe's Home Centers, Inc. v. Olin Corp.,

313 F.3d 1307, 1315 (11th Cir. 2002). "[C]ase management depends on enforceable deadlines ...

. In managing their caseloads, district courts are entitled to--'indeed they must-enforce

deadlines."' Flint v. City of Belvidere, 791 F.3d 764, 768 (7th Cir. 2015) (citations omitted). The

Court's authority to sanction parties and/or their counsel for non-compliance with a discovery-

related order includes (I) criminal contempt, (2) the Court's inherent authority, (3) 28 U.S.C. §

1927, (4) Federal Rule of Civil Procedure 37(b)(2), (5) civil contempt, and (6) Federal Rule of

Civil Procedure 16(t).

6. Here, there are provisions of the Third Amended Plan that have not been followed willfully by

the opposing parties which warrant a finding of contempt.

WHEREFORE, based on the foregoing, the Debtor respectfully requests that this Honorable

Court find the Creditor be found in contempt for the reasons stated herein.



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     2. COMMITTING FRAUD UPON THE COURT BY OFFICER OF THE COURT

     A checklist of items needed to prove Fraud against the court including

     intention

a) The Creditor's attorney stated that the defendant had not paid any

     money since the foreclosure started. Defendant has been in Chapter

     13 bankruptcy, per Pacer.Gov website and Plaintiff's ledger book

     submitted by Plaintiff to the Trustees of Federal Judge Sam

     Grossman and Federal Judge Peter Russin; payments have been

     made by the debtor to the creditor

b)

     Legality of using unmarketable in additional zoning issue assets as

     collateral in addition to using the Foreclosure court to market the

     defective

        a. When the issue started

        b. Background




                                                                       Page 3 of 12

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c. The Markable Record Title Act states that the property cannot

   even be transferred, sold, given away ...

d. I have notified the following parties

       1.   Specialized Loan Servicing that I cannot legally act.

      11.   Federal Bankruptcy Court

     iii. Government agencies that agree there is a title issue of

            who owns the land

               1. South Florida Water Management District

              2. Old Plantation Water Control District

              3. City of Plantation Directory of utilities that wished an

                 easement would disappear. The easement is

                  behind could not and 16 other homes.

              4. Broward County Highway and Bridges Department.

                 The Bridge going over the canal does not meet the

                  specifications from when it was built to now. The

                  same issue as the land-based homes on the east

                  side of the canal

              5. Florida Department of Transportation

     iv. I have talked with some neighbors. They stated that they

            cannot sell their homes.


                                                                   Page 4 of 12

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3. Alterative assets that should be used as payment per State of Florida

   statutes is the title bought the lender was required to purchase if the

      property is not as described when we purchased it.

        a. Is Plaintiff using the foreclosure court to commit at the least an

           unethical act selling a non-curable PHYSICALLY defective

           property

4. There are four instances of Fraud Against The Court by the plaintiff

5. Breach of contract(s} Lender Title Insurance

6. Destruction of $313,000 asset

7. "We pay cash for your house."

8. Breach of Implied contract.

9. Federal Court Hearing called by Federal Bankruptcy Judge Sam

  Grossman regarding this property and the title issues it has. All

  parties agreed that the title issues need to be fixed in court. The

  agreeing parties included Bank New York Mellon's Legal

   representative.

10.         Foreclosure does not cure the physical defect and is contrary

  to the reason why the State of Florida set up the statute that requires

  requirements




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   11.      Debtor has two Title/Warranty policies that would disappear if

     the foreclosure is allowed to continue

         a. Owner Title Insurance policy $300,000.

         b. United States Government 'forever warranty' deed. Value

            $200,000

   12.      The Lender has a $313,000 title insurance policies

   13.      The plaintiff has stated that Defendant turned on prior offers

     from the lender to short-sell the property. The other offers would

     require the defendant to commit a crime.

   14.       Per Florida Civil Rights Act: Retaliation: State and federal laws prevent

     Florida employers from firing employees for reasons considered retaliatory in

     nature. Furthermore, they are not allowed to terminate employees who refuse

     to engage in illegal activities or commit crimes on the employer's behalf.

   15.      I have the surveys of my neighbor's property from The City of Plantation

     reflecting how the Canal Maintenance Easement is placed. Very inconsistent

     placement


Attached are the following items

         a. Broward County Government records of the Plat for the

            neighborhood from 1958 and neighborhood were never replat

            to reflect reality. Book 55, page 27


                                                                                Page 6 of 12


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          b. Broward County government Aerial photos reflecting the other

               canal systems in the area and mine built during the same

               period.



                         COUNT FOUR OF CONTEMPT OF COURT



DESTRUCTION OF TITLE INSURANCE CLAIMS AND POLICIES IN ADDITION TO

NO KNOWLEDGE( OF TITLE INSURANCE From SLS legal recording based on Florida

and Federal)




                                                                          Page 7 of 12
                                         ]7
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                 Count 5 of 5 Contempt of Court

BANK NEW YORK MELLON HAD/HAS NO STANDING TO FILE

   FORECLOSURE DUE TO IMPROPER ASSIGNMENT OF

MORTGAGE PACKAGE PER FIDELITY NATIONAL FINANCIAL,

 WELLS FARGO WEBSITE AND LENDER TITLE INSURANCE

                       POLICY PROVIDED BY

    (a) Plaintiff had purchased a Mortgage Package from Wells Fargo

    (b) Wells Fargo defines the Mortgage Package in four separate arenas

       (i) Wells Fargo Website for the definition of Mortgage Package(s)

       (ii) The mortgage itself which defines the area of a mortgage and the different

           parties' duties. See Mortgage

       (iii) The Lender's Title Insurance policy. The Lender title insurance policy

           under Wells Fargo specified Wells Fargo as the Lender

       (iv) From the Lender title insurance the duties of the primary lender and

           subsequent assigned lender.

    (c) The lender can use the lender title insurance policy as they wish EXCEPT

       voiding the Lender title insurance policy. One of the parts of the mortgage

       package




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 (d) Wells Fargo assigned the mortgage to 3rd party, Bank New York Mellon. (See

    assignment)

 (e) Thirty days after the assignment of just the note part of the mortgage, BNYM

    filed foreclosed against the plaintiff.

 (t) Per the Wells Frago copy of the lender title insurance policy requires the new

    lender to have a title search of the note/corrallal in case title issues have

    occurred. Since the Lender title Insurance policy was issued.

    (i) Per the Plaintiffs research while investigating the missing land issue found

        the following title issues regarding who is the owner of the property prior

        to my ownership

        1. Four parties claiming ownership of the property.

        2. One government loan that has become the primary loan. The loan is

            recorded in the Broward County Records. The loan was a second note

            from the prior owner. The note survived the prior foreclosure to now

            become the primary note. The interest/late fees have been

            accommodating since 2001. Plaintiff had purchased his home in 2004

 (g) In the year 2019, the residents of the east side of the canal land loss became

    noticeable.

 (h) In March 2023 when BNYM commented on the first, second ... contempt of

    court in State court and District court.

 (i) Plaintiff discovered the City of Plantation had been scanning in old documents

 G) Records of City Council hearings (4) dealt with the Canal Maintenance

    Easement that myself and my neighbors are being negatively impacted.



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             (k) New Survey done in 2023 matches the first survey performed in 1962. Neither

                the Plat nor the survey that the lender is using to foreclose on.

             (1) The defendant is foreclosing on land that does not belong to the Plaintiff.

             (m) The land and the house is not repairable unless with a bulldozer.

                (i) Confirmation of that

                    I. City of Plantation code with setback issue of house to canal, surveys.

                    2. GC/ and a few attorneys. One attorney was in the Southern District

                         Bankruptcy Court. Attorney Robson was helping pro-se litigates find

                         attorneys. The Plaintiff was his typical self with the volume of emails

                         with documentation. Attorney Grace Robison is now known as Judge

                         Grace Robison of the Middle District Bankruptcy Court.

2) Claim amount/action




                                                                                    Page 10 of 12


                                                  f7
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DATED: August I 0,2023                     Respectfully Submitted,




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                         FORT LAUDERDALE DIVISION

In re:
RALPH LEVI SANDERS, JR.                    CASE NO. 22-14766-SMG
                                           CHAPTER 13
Debtor.

- - - - - - - - - - - - -I
                               PROPOSED ORDER

                                                                       Page 11 of 12
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AND NOW, on this _ _ _ _ day of _ _ _ _ _ _ _ _ _~ 2023, upon consideration of

the Debtor's motion for contempt for violation of court ordere, it is hereby ORDERED that said

motion is hereby GRANTED.

                                                   BY THE COURT:




                                                                                 Page 12 of 12
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                                                               Select Year: , 2022·-;,· ~



The 2022 Florida Statutes
            Title XL                                                          ~pter 701                              Vjew Entire Chapter
  REAL AND PERSONAL PROPERTY                       ASSIGNMENT AND CANCELLATION OF MORTGAGES
  701.02        Assignment not effectual against creditors unless recorded and indicated in title of document; applicability.-
  (1)   An assignment of a mortgage upon real property or of any interest therein, is not good or effectual in law or equity,
against creditors or subsequent purchasers, for a valuable consideration, and without notice, unless the assignment is
contained in a document that, in its title, indicates an assignment of mortgage and is recorded according to law.
  (2)   This section also applies to assignments of mortgages resulting from transfers of all or any part or parts of the debt,
note or notes secured by mortgage, and none of same is effectual in law or in equity against creditors or subsequent purchasers
for a valuable consideration without notice, unless a duly executed assignment be recorded according to law.
  (3)   Any assignment of a mortgage, duly executed and recorded according to law, purporting to assign the principal of the
mortgage debt or the unpaid balance of such principal, shall, as against subsequent purchasers and creditors for value and
without notice, be held and deemed to assign any and all accrued and unpaid interest secured by such mortgage, unless such
interest is specifically and affirmatively reserved in such an assignment by the assignor, and a reservation of such interest or
any part thereof may not be implied.
  (4)   Notwithstanding subsections (1 ), (2), and (3) governing the assignment of mortgages, chapters 670-680 of the Uniform
Commercial Code of this state govern the attachment and perfection of a security interest in a mortgage upon real property
and in a promissory note or other right to payment or performance secured by that mortgage. The assignment of such a
mortgage need not be recorded under this section for purposes of attachment or perfection of a security interest in the
mortgage under the Uniform Commercial Code.
  (5)   Notwithstanding subsection (4), a creditor or subsequent purchaser of real property or any interest therein, for valuable
consideration and without notice, is entitled to rely on a full or partial release, discharge, consent, joinder, subordination,
satisfaction, or assignment of a mortgage upon such property made by the mortgagee of record, without regard to the filing of
any Uniform Commercial Code financing statement that purports to perfect a security interest in the mortgage or in a
promissory note or other right to payment or performance secured by the mortgage, and the filing of any such financing
statement does not constitute notice for the purposes of this section. For the purposes of this subsection, the term "mortgagee
of record" means the person named as the mortgagee in the recorded mortgage or, if an assignment of the mortgage has been
recorded in accordance with this section, the term "mortgagee of record" means the assignee named in the recorded
assignment.
  History.-s. 1, ch. 6909, 1915; RGS 3841; CGL 5744; s. 13, ch. 20954, 1941; s. 2, ch. 89-41; s. 20, ch. 2005-241.


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            Return To:
            WELLS FARGO BANK. N.A.
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            3801 MINtESOTA DRIVE
            BLOOMINGTON, MN 55435-5284


            This document was prepared by:
            KENNETlt BRACY
            WELLS FARGO BANK. N.A.
            ISO 'TRAFALGAR BLYD,350
            MAl1\.AND, R. 32751·



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                                                   MORTGAGE                                      0143319122




            DEFINITIONS

            Words used in multiple sections of this document are defined below and other words are
            defined In Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usaga of words used
            in this document are also provided in Section 18.


            (A) "'Sec:urtty Instrument" means this document. which is dated APRIL 11, 2005
            together with all Riders to this document.
            (B) "'Borrower" is
            RALPH L SANDERS, AN UNMARRIED MAN




            Borrower Is the mortgagor under this Security Instrument.
            (C) "'Lend_.. is WELLS FARGO BANK, N.A.

            Lender is a Natlonll Aaodatlon
            organized and existing under the laws or THE UNl1E> STATES OF AMERICA




            FLORIDA- Single Family • ,,__ MHIFl'Nlle Mac UIIIFORII -TIIUIHIIT            FORM 3010        1/01

                             Initials:--                                                SFl.01    Rav 1 II02AIO
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            Lender's address is
             P.O. BOX 5137, DES MOINES, IA ~137
            Lender is the mortgagee under this Security Instrument.
            (D) "Note • means the promissory note signed by Borrower and dated APRIL 11, zoos
            The Note states that Borrower owes Lender THREE HUNDRED THIRllEN 1HOUSAND
              AND N0/100                                                                               Dollars
            (U.S. $ .....HJ..~~............) plus interest. Borrower has promised to pay this debt in regular
            Periodic Payments and to pay the debt In full not later than MAY 1, 2035
            (E) -Property'" means the property that is described below under the heading "Transfer of
            Rights In the Property.•
            (F) ~oan• means the debt evidenced by the Note, plus interest, any prepayment charges
            and late charges due under the Note, and all sums due under this Security Instrument, plus
             interest.
            (G) •Rlclen" means all Riders to this Security Instrument that are executed by Borrower.
            The following Riders are to be executed by Borrower (check box as applicable):

            D Adjustable Rate Rider D Condominium Rider              D Second Home Rider
            D Balloon Rider         D Planned Unit Development Rider 0 1-4 Family Rider
            D VA Rider              D Biweekly Payment Rider         00ther(s) [specify)


            (H) •Appllc:allle Law" means all controlling appllcable federal, state and local statutes,
             regulations, ordinances and administrative rules and orders (that have the effect of law) as
             well as all applicable final, non-appealable judicial opinions.
             (I) "Community Aaaclaaoll Dw, F-, ancl Amafflents• means all dues, fees,
             assessments and other charges that are impased on Borrower or the Property by a
             condominium association, homeowners association or similar organization.
            (J) -Elec:tronlc , _ . n..fer"' means any transfer or funds, other than a transaction
            originated by check, draft, or similar paper instrument, which is Initiated through an
            electronic terminal, telephonic Instrument, computer, or magnetic tape so as to order,
            instruct, or authorize a financial institution to debit or credit an account. Such term Includes,
            but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers
            initiated by telephone, wire transfers, and automated clearinghouse transfers.
            (K) "Escrow IIHls" means those items that are described in Section 3.
            (L) "Mlscellaleous Pl'OCNds" means any compensation, settlement, award of damages, or
            proceeds paid by any third party (other than insurance proceeds paid under the coverages
            described in Section 5) for: (I) damage to, or destruction of, the Property; (ii) condemnation
            or other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or
            (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
            (M) "Mol'tlale Insurance" means insurance protecting Lender against the nonpayment of,
            or default on, the Loan.
            (N) -Pertocllc Pa,menr means the regularly scheduled amount due for (i) principal and
             interest under the Note, plus (Ii) any amounts under Section 3 of this Security Instrument.


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           (0) "REIPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et
           seq.) and Its Implementing regulation, Regulation X (2-' C.F.R. Part 3500), as they might be
           amended from time to time, or any additional or successor legislation or regulation that
           governs the same subject matter. As used In this Security lns1rument. "RESPA• refers to all
           requirements and restrictions that are imposed in regard to a •federally related mortgage
           loan• even if the Loan does not qualify as a "federally related mortgage loan• under RES PA.
           (P) "Suc:caaar In lllllrest crf Borrower" means any party that has taken title to the Property,
           whether or not that party has aHumed Borrower's obligations under the Note and/or this
           Security Instrument.

            TRANSFER OF RIGHTS IN THE PROPERTY

            This Security Instrument secures to Lender: (I) the repayment of the Loan, and all renewals,
            extensions and modifications of the Nole; and (ii) the performance of Borrower's convenants
            and agreements under this Security Instrument and the Note. For this purpose, Borrower
            does hereby mortgage, grant and convey to Lender, the following described property
            located In the    County                 of           BROWARD
                          fType of Recording JurildidiooJ          (Name of Reconfiog Jwudiclioo~

            LEGAL DESCRIPTION IS ATTACHED HERETO AS SCHEDULE "A" AND MADE A
            PART HEREOF.




           Parcel ID Number:                                              which currently has the address of
           511 SW IOAVE                                                                               [Street)
                                       PLANTATION                  [City), Florida   33317        [Zip Code)
           (•Property Address•):

                TOGETHER WITH all the improvements now or hereafter erected on the property, and
           all easements, appurtenances, and fixtures now or hereafter a part of the property. All
           replacements and additions shall also be covered by this Security Instrument All of the
           foregoing is referred to In this Security Instrument as the •Property.•



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                     BORROWER COVENANTS that Borrower Is lawfully selsed of the estate hereby conveyed
              and has the right to mortgage, grant and convey the Property and that the Property is
              unencumbered, except for encumbrances of record. Borrower warrants and will defend
              generally the title to the Property against all claims and demands, subject to any
               encumbrances of record.
                     THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-
               uniform covenants with limited variations by Jurisdiction to constitute a uniform security
               instrument covering real property.
                     UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:
                    1. PIIJIMM of Prlnclpal, lnllrNt, Eacnnr lllma, P....,.._.. Charges, and Lala Chllrg•.
              Borrower shall pay when due the principal of, and interest on, the debt evidenced by the
              Note and any prepayment charges and late charges due under the Note. Borrower shall
              also pay funds for Escrow Items pursuant to Section 3. Payments due under the Note and
              this Security Instrument shall be made In U.S. currency. However, If any check or other
              instrument received by Lender as payment under the Note or this Security Instrument Is
              returned to Lender unpaid, Lender may require that any or all subsequent payments due
              under the Note and this Security Instrument be made in one or more of the following forms,
              as selected by Lender: (a) cash; (b) money order; (c) certiHed check, bank check, treasurer's
              check or cashier's check, provided any such check is drawn upon an institution whose
              deposits are insured by a federal agency, instrumentality, or entity; or (d) Electronic Funds
              Transfer.
                     Payments are deemed received by Lender when received at the location designated In
              the Note or at such other location as may be designated by Lender In accordance with the
               notice provisions in Section 15. Lender may return any payment or partial payment if the
               payment or partial payments are Insufficient to bring the Loan current. Lender may accept
               any payment or partial payment insufficient to bring the Loan current. without waiver of any
               rights hereunder or prejudice to its rights to refuse such payment or partial payments In the
              future, but Lender is not obligated to apply such payments at the time such payments are
               accepted. If each Periodic Payment Is applied as of Its scheduled due date, then Lender
               need not pay Interest on unapplied funds. Lender may hold such unapplied funds until
              Borrower makes payment to bring the Loan current. If Borrower does not do so within a
               reasonable period of time, Lender shall either apply such funds or return them to Borrower.
               If not applied earlier, such funds will be applied to the outstanding principal balance under
              the Note Immediately prior to foreclosure. No offset or claim which Borrower might have
               now or in the future against Lender shall relieve Borrower from making paymen1B due under
              the Note and this Security Instrument or performing the covenants and agreements secured
               by this Security Instrument.
                     2. Appllc:aaon of Pa,menls or Pia nds Except as otherwise described in this Section 2,
              all payments accepted and applied by Lender shall be applied In the following order of
              priority: (a} Interest due under the Note; (b) principal due under the Note; (c) amounts due
              under Section 3. Such payments shall be applied to each Periodic Payment in the order in
              which it became due. Any remaining amounts shall be applied first to late charges, second
              to any other amounts due under this Security Instrument. and then to reduce the principal
              balance of the Note.


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            If Lender receives a payment from Borrower for a delinquent Periodic Payment which
            includes a sufficient amount to pay any late charge due, the payment may be applied to the
            delinquent payment and the late charge. If more than one Periodic Payment is outstanding,
             Lender may apply any payment received from Borrower to the repayment of the Periodic
             Payments If, and to the extent that. each payment can be paid in full. To the extent
            that any excess exists after the payment Is applled to the full payment of one or more
             Periodic Payments, such excess may be applied to any late charges due. Voluntary
             prepayments shall be applled flrst to any prepayment charge■ and then as described in the
            Note.
                  Any application cl payment■, lnaurance proceeds, or Miscellaneous Proceed■ to
            principal due under the Note shall not extend or postpone the due date, or change the
            amount, of the Periodic Payments.
                   3, Funds for &craw Hams. Borrower shall pay to Lender on the day Periodic Payments
            are due under the Note, until the Note Is paid In full, a ■um (the "Funds") to provide for
            payment of amounts due for: (a) taxes and assessments and other Items which can attain
            priority over this Security ln1trument as a lien or encumbrance on the Property; (b)
            leasehold payments or ground rent■ on the Property, If any; (c) premiums for any and all
            insurance required by Lender under Section 5: and (d) Mortgage Insurance premiums, if
            any, or any sums payable by Borrower to Lender In lieu of the payment of Mortgage
            Insurance premiums In accordance with the provisions of Section 10. These items are called
            •Escrow Items.• At origination or at any time during the term of the Loan, Lender may
            require that Community Association Dues, Fees, and Assessment■, if any, be escrowed by
            Borrower, and such dues, fees and assessments shall be an Escrow Item. Borrower shall
            promptly furnl1h to Lender all notices of amounts to be paid under this Section. Borrower
            shall pay Lender the Funds for Escrow Items unless Lender waive■ Borrower's obligation to
            pay the Funds for any or all Eacrow Items. Lender may waive Borrower's obligation to pay
            to Lender Funds for any or all Escrow Items at any time. Any such -Iver may only be in
            writing. In the event of such waiver, Borrower shall pay directly, when and where payable,
            the amounts due for any Escrow Items for which payment or Funds has been waived by
            Lender and, if Lender require■, shall fumiah to Lender receipts evidencing such payment
            within such time period as Lender may require. Borrower's obligation to make such
            payments and to provide receipts shall for all purposes be deemed to be a covenant and
            agreement contained In this Security Instrument, as the phrase •covenant and agreement•
            is used in Section 9. If Borrower Is obligated to pay Escrow Items directly, punuant to a
            waiver, and Borrower falls to pay the amount due for an Escrow Item, Lender may exercise
            its rights under Section 9 and pay such amount and Borrower shall then be obligated under
            Section 9 to repay to Lender any such amount. Lender may revoke the waiver as to any or
            all Escrow Items at any time by a notice given In accordance with Section 15 and, upon such
            revocation, Borrower shall pay to Lender all Funds, and in such amount■, that are then
            required under this Section 3.
                   Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit
            Lender to apply the Funds at the time specified under RESPA, and (b) not to exceed the
            maximum amount a lender can require under RESPA. Lender shall estimate the amount of
            Funds due on the basis of current data and reasonable estimates of expenditures of future
            Escrow items or otherwise In accordance with Applicable Law.

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                The Funds shall be held in an institution whose deposits are insured by a federal
         agency, instrumentality, or entity (indudlng Lender, if Lender is an institution whose
         deposits are so insured} or in any Federal Home loan Bank. lender shall apply the Funds
         to pay the Escrow Items no later than the time specified under RESPA. lender shall not
         charge Borrower for holding and applying the Funds, annually analyzing the escrow
         account, or verifying the Escrow Items, unlen Lender pays Borrower interest on the Funds
         and Applicable law permits Lender to make such a charge. Unless an agreement is made
         in writing or Applicable Law requires interest to be paid on the Funds, Lender shall not be
         required to pay Borrower any interest or earnings on the Funds. Borrower and lender can
         agree in writing, however, that Interest shall be paid on the Funds. lender shall give to
         Borrower, without charge, an annual accounting of the Funds as required by RESPA.
                If there is a surplus of Funds held in escrow, as defined under RES PA, lender shall
         account to Borrower for the excess funds In accordance with RESPA. If there Is a shortage
         of Funds held in escrow, as defined under RESPA, lender shall notify Borrower as required
         by RESPA, and Borrower shall pay to lender the amount necessary to make up the
         shortage in accordance with RESPA, but In no more than 12 monthly payments. If there is a
         deficiency of Funds held In escrow, as defined under RESPA, Lender shall notify Borrower
         as required by RESPA, and Borro-r shall pay to lender the amount necessary to make up
         the deficiency in accordance with RESPA, but In no more than 12 monthly payments.
                Upon payment in full of all sums secured by this Security Instrument, lender shall
         promptly refund to Bo~r any Funds held by Lender.
                4. Charges; u-. Borrower shall pay all taxes, assessments, charges, fines, and
          impositions attributable to the Property which can attain priority over this Security
          Instrument, leasehold payments or ground rents on the ProperfY, if any, and Community
          Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow
          Items, Borrower shall pay them In the manner provided In Section 3.
                Borrower shall promptly discharge any lien which has priority over this Security
         Instrument unless Borro-r: (a} agrees in writing to the payment of the obligation secured
         by tbe lien in a manner acceptable to lender, but only so long as Borro-r is performing
         such agreement: (b} contests the lien In good faith by, or defends against enforcement of
         the lien in, legal proceedings which in lender's opinion operate to prevent the enforcement
         of· the lien while those proceedings are pending, but only until such proceedings are
         concluded; or (c} secures from the holder of the lien an agreement satisfactory to Lender
         subordinating the lien to this Security Instrument. If Lender determines that any part of the
          ProperfY Is subject to a lien which can attain priority over this Security Instrument. Lender
         may give Borrower a notice identifying the llen. Within 10 days of the date on which that
         notice is given, Borrower shall satisfy the lien or take one or more of the actions set forth
         above in this Section 4.
                Lender may require Borrower to pay a one-time charge for a real estate tax verification
         and/or reporting service used by lender in connection with this Loan.




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                  5. Property 1....-.nc:e. Borrower shall keep the improvements now existing or hereafter
            erected on the Property Insured against loss by fire, hazards Included within the term
            •extended coverage," and any other hazards Including, but not limited to, earthquakes and
            floods, for which Lender requires Insurance. This insurance shall be maintained in the
            amounts {Including deductible levels) and for the periods that Lender requires. What
            Lender requires pursuant to the preceding sentences can change during the term of the
            Loan. The Insurance carrier providing the insurance shall be chosen by Borrower subject to
            Lender's right to disapprove Borrower's choice, which right shall not be exercised
            unreasonably. Lender may require Borrower to pay, In connection with this Loan, either.
            (a) a one-time charge for flood zone determination, certification and tracking services; or (b)
            a one-time charge for flood zone determination and certification services and subsequent
            charges each time remapping& or similar changes occur which reuonably might affect such
            determination or certification. Borrower shall also be responsible for the payment of any
            fees imposed by the Federal Emergency Management Agency in connection with the review
            of any flood zone determination resulting from an objection by Borrower.
                  If Borrower falls to maintain any of the coverages described above, Lender may obtain
            Insurance coverage, at Lender's option and Borrower's expense. Lender is under no
            obligation to purchase any particular type or amount of coverage. Therefore, such coverage
            shall cover Lender, but might or might not protect Borrower, Borrower's equity In the
            Property, or the contents of the Property, against any risk, hazard or liability and might
            provide greater or lesser coverage than was previously in effect. Borrower acknowledges
            that the cost of the Insurance coverage so obtained might significantly exceed the cost of
            insurance that Borrower could have obtained. Any amounts disbursed by Lender under
            this Section 5 shall become additional debt of Borrower secured by this Security Instrument.
            These amounts shall bear interest at the Note rate from the date of disbursement and shall
            be payable, with such interest, upon notice from Lender to Borrower requesting payment.
                 All insurance policies required by Lender and renewals ot such policies shall be subject
            to Lender's right to disapprove such policies, shall include a standard mortgage clause, and
            shall name Lender as mortgagee and/or as an additional loss payee. Lender shall have the
            righf to hold the policies and renewal certificates. If Lender requires, Borrower shall
            promptly give to Lender all receipts of paid premiums and renewal notices. If Borrower
            o~tains any form of insurance coverage, not otherwise required by Lender, for damage to,
            or destruction of, the PropertY, such policy shall Include a standard mortgage clause and
            shall name Lender as mortgagee and/or as an additional loss payee.
                  In the event of loss, Borrower shall give prompt notice to the insurance carrier and
            Lender. Lender may make proof of loss if not made promptly by Borrower. Unless Lender
            and Borrower otherwise agree In writing, any insurance proceeds, whether or not the
            underlying insurance was required by Lender, shall be applied to restoration or repair of the
            Property, if the restoration or repair Is economically feasible and Lender's security is not
            lessened. During such repair and restoration period, Lender shall have the right to hold
            such Insurance proceeds until Lender has had an opportunity to inspect such Property to
            ensure the work has been completed 1o Lender's satisfaction, provided that such inspection



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              shall be undertaken promptly. Lender may disburse proceeds for the repairs and
              restoration In a single payment or in a series of progress payments as the work is
              completed. Unless an agreement is made in writing or Applicable Law requires interest to
              be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
              Interest or earnings on such proceeds. Fees for public adjusters, or other third parties,
              retained by Borrower shall not be paid out of the insurance proceeds and shall be the sole
              obligation of Borrower. If the restoration or repair is not economically feasible or Lender's
              security would be be lessened, the insurance proceeds shall be applied to the sums
              secured by this Security Instrument, whether or not then due, with the excess, If any, paid to
              Borrower. Such insurance proceeds shall be applied in the order provided for in Section 2.
                     If Borrower abandons the Property, Lender may file, negotiate and settle any available
              insurance claim and related matters. If Borrower does not respond within 30 days to a
              notice from Lender that the insurance carrier has offered to settle a claim. then Lender may
              negotiate and settle the claim. The 30-day period will begin when the notice is given. in
              either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower
              hereby assigns to Lender (a) Borrower's rights to any insurance proceeds In an amount not
              to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other
              of Borrower's rights (other than the right to any refund of unearned premiums paid by
              Borrower) under all insurance policies covering the Property, insofar as such rights are
              applicable to the coverage of the Property. Lender may use the insurance proceeds either
              to repair or restore the Property or to pay amounts unpaid under the Note or this Security
              Instrument, whether or not then due.
                    I. Oc:cupallCJ. Borrower shall occupy, establish, and use the Property as Borrower's
               principal residence within 80 days after the execution of this Security Instrument and shall
               continue to occupy the Property as Borrower's principal residence for at least one year after
               the date of occupancy, unless Lender otherwise agrees In writing, which consent shall not
               be unreasonably withheld, or unless extenuating circumstances exist which are beyond
               Borrower's con1rol.
                    7. Pl'9NrYllllon, Makdananm and ProtKtlon al the Property; lnspecllans. Borrower shall
               not destroy, damage or impair the Property, allow the Property to deteriorate or commit
               waste on the Property. Whether or not Borrower is residing in the Property, Borrower shall
               maintain the Property in order to prevent the Property from deteriorating or decreasing in
               value due to its condition. Unless it is detennined pursuant to Section 5 that repair or
               restoration Is not economically feasible, Borrower shall promptly repair the Property if
               damaged to avoid further deterioration or damage. If Insurance or condemnation proceeds
               are paid in connection with damage to, or the taking of, the Property, Borrower shall be
               responsible for repairing or restoring the Property only If Lender has released proceeds for
               such purposes. Lender may disburse proceeds for the repairs and restoration in a single
               payment or In a series of progress payments as the work is completed. If the insurance or
               condemnation proceeds are not sufficient to repair or restore the Property, Borrower is not
               relieved of Borrower's obligation for the completion of such repair or restoration.
                     Lender or Its agent may make reasonable entries upon and inspections of the Property.
              If It has reasonable cause, Lender may Inspect the interior of the Improvements on the
              Property. Lender shall give Borrower notice at the time of or prior to such an interior
              Inspection specifying such reasonable cause.

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                    8. Borrower's ~ Application. Borrower shall be in defauh if, during the Loan
                application process, Borrower or any persons or entities acting at the direction of Borrower
                or with Borro-r's knowledge or consent gave materially false, misleading, or Inaccurate
                Information or statements to Lender (or failed to provide Lender with material information)
                in connection with the Loan. Material representations Include, but are not limited to,
                representations concerning Borrower's occupancy of the Property as BolT'OWer's principal
                residence.
                     9. ProtKtlon of l.encla'a lnllrNt In lie Property and R.... Under this Secwtly
                Instrument. If (a) Borrower falls to perform the covenants and agreements contained in this
                Security Instrument, (b) there is a legal proceeding that might signlflcantly affect Lender's
                interest in the Property and/or rights under this Security Instrument (such as a proceeding
                in bankruptcy, probate, for condemnation or forfeiture, for enforcement ot a lien which may
                attain priority over this Security Instrument or to enforce la- or regulations), or (c)
                Borrower has abandoned the Property, then Lender may do and pay for whatever is
                reasonable or appropriate to protect Lender's interest in the Property and rights under this
                Security Instrument, Including protecting and/or assessing the value of the Property, and
                securing and/or repairing the Property. Lender's actions can include, but are not limited to:
                (a) paying any sums secured by a lien which has priority over this Security Instrument; (b)
                appearing In court: and (c) paying reasonable attorneys' fees to protect its interest in the
                Property and/or rights under this Security Instrument, Including its secured position in a
                bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the
                Property to make repairs, change locks, replace or board up doors and windows, drain
                water from pipes, eliminate building or other code violations or dangerous conditions, and
                have utilitlestumed on or off. Although Lender may take action under this Section 9, Lender
                does not have to do so and is not under any duty or obligation to do so. It is agreed that
                Lender incurs no liability for not taking any or all actions authorized under this Section 9.
                    Any amounts disbursed by Lender under this Section 9 shall become additional debt of
                Borrower secured by this Security Instrument. These amounts shall bear Interest at the
                Note rate from the date of disbursement and shall be payable, with such interest. upon
                notlce from Lender to Borrower requesting payment.
                    If this Security Instrument Is on a leasehold, Borrower shall comply with all the
                provisions of the lease. If BolT'OWer acquires fee title to the Property, the leasehold and the
                fee title shall not merge unless Lender agrees to the merger In writing.
                    10. Mm-.... l w . If Lender required Mortgage Insurance as a condition of
                making the Loan, Borrower shall pay the premiums required to maintain the Mortgage
                Insurance in effect. If, for any reason, the Mortgage Insurance coverage required by Lender
                ceases to be avallable from the mortgage insurer that previously provided such insurance
                and Borrower was required to make separately designated payments toward the premiums
                for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
                substantially equivalent to the Mortgage Insurance previously in effect, at a cost
                substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in
                effect, from an alternate mortgage Insurer selected by Lender. If substantially equivalent
                Mortgage Insurance coverage Is not available, Borrower shall continue to pay to Lender the
                amount of the separately designated payments that were due when the insurance coverage


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              ceased to be in effect. Lender will accept, use and retain these payments as a
              non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
              non-refundable, notwithstanding the fact the the Loan is uttlmately paid in full, and Lender
              shall not be required to pay Borrower any Interest or earnings on such loss reserve.
              Lender can no longer require loss reserve payments If Mortgage Insurance coverage (In the
              amount and for the period that Lender requires) provided by an insurer selected by Lender
              again becomes available, is obtained, and Lender requires separately designed payments
              toward the premiums for Mortgage Insurance. If Lender required Mortgage Insurance as a
              condition of making the Loan and Borrower was required to make separately designed
              payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums
              required to maintain Mortgage Insurance In effect, or to provide a non-refundable loss
              reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any
              written agreement between Borrower and Lender providing for such termination or until
              termination Is required by Applicable Law. Nothing In this Section 10 affects Borrower's
              obligation to pay Interest at the rate provided In the Note.
                     Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for
               certain losses it may Incur If Borrower does not repay the Loan as agreed. Borrower is not
               a party to the Mortgage Insurance.
                     Mortgage insurers evaluate their total risk on all such insurance in force from time to
               time, and may enter into agreements wtth other parties that share or modify their risk, or
               reduce losses. These agreements are on terms and conditions that are satisfactory to the
               mortgage insurer and the other party (or parties) to these agreements. These agreements
               may require the mortgage Insurer to make payments using any source of funds that the
               mortgage Insurer may have available (which may include funds obtained from Mortgage
               Insurance premiums).
                     As a resutt of these agreements, Lender, any purchaser of the Note, another Insurer,
               any reinsurer, any other entity, or any affiliate of any of the foregoing, may receive (directly
               or Indirectly) amounts that derive from (or might be characterized as) a portion of
               Borrower's payments for Mortgage Insurance, In exchange for sharing or modifying the
               mortgage Insurer's risk, or reducing losses. If such agreement provides that an affiliate of
               Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to
               the insurer, the arrangement Is often termed •captive reinsurance.• Further:
                   • (a) Any such ............ wlH not atrec:t the amounts 11181 Borrows ha agl"Nd ID pay
               for Mortgage ,. ....,., or any GIiier tenna of the Loan, Suc:11 ............ wlll not lnc:re••
               the amount 8onvww wll -          f a r ~... lnauranc:a, and '-Y wll nat antNla Boffow ID
                any refund.
                     (b) Any such agwta wll not an.ct'- rtthls aorrow. ha • If any • wHh reapact
               ID the Mlll'1lale Insurance unclar ' - Homeowws Prateclon Act of 1 • or any oa- law,
               Th- rights may lllcluda Ille right ID racal¥e C811a1n cllsc:lolurw, ID raquaat and obtain
               cancellation of the Mo,..,.... Insurance, 1D haft the M:!11-•• Insurance tannlnlltacl
               automallcally, and/or to racalw a rwfuncl of any .._.... I • - pNmlw llat . . .
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                 11. AnigMleld of Misc:911aneous Prac11d■; Forfeiture. All Miscellaneous Proceeds
           are hereby a11igned to and shall be paid to Lender.
                  If the Property is damaged, such Miscellaneous Proceeds shall be applied to
            restoration or repair of the Property. if the restoration or repair Is economically feasible and
            Lender's security is not lessened. During such repair and restoration period, Lender shall
            have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to
            inspect such Property to ensure the work ha■ been completed to Lender's satisfaction,
            provided that such inspection shall be undertaken promptly. Lender may pay for the repairs
            and restoration in a ■Ingle disbursement or in a series of progre11 payments as the work is
            completed. Unle11 an agreement is made in wrlflng or Applicable Law requires Interest to
            be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any
            interest or earnings on such Miscellaneous Proceeds. If the restoration or repair is not
            economically feasible or Lender's security would be lessened, the Miscellaneous Proceeds
            shall be applied to the sums secured by this Security Instrument. whether or not then due,
            with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied In
            the order provided for in Section 2.
                  In the event of a total taking, destruction, or loss in value of the Property, the
           Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument,
           whether or not then due, with the excess, If any, paid to Borrower.
                 in the event of a partial taking, destruction, or loss in value of the Property in which the
           fair market value of the Property Immediately before the partial taking, destruction, or loss
           in value is equal to or greater than the amount of the sums secured by this Security
           instrument immediately before the partial taking, destruction, or loss in value, unless
           Borrower and Lender otherwise agree in writing, the sums secured by this Security
           Instrument shall be reduced by the amount of the Miscellaneous Proceeds multiplied by the
           following fraction: (a) the total amount of the sums secured immediately before the partial
           taking, destruction, or loss In value divided by (b) the fair market value of the Property
           immediately before the partial taking, destruction, or loss In value. Any balance shall be
           paid to Borrower.
                  In the event of a partial taking, destruction, or loss in value of the Property In which
           the fair market value of the Property immediately before the partial taking, destruction, or
           loss In value Is less than the amount of the sums secured Immediately before the partial
           taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing,
           the Miscellaneous Proceeds shall be applied to the sums secured by this Security
           Instrument whether or not the sums are then due.
                 If the Property is abandoned by Borrower, or If, after notice by Lender to Borrower that
           the Opposing Party (as defined In the next sentence) offers to make an award to settle a
           claim for damages, Borrower falls to respond to Lender within 30 days after the date the
           notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds either
           to restoration or repair of the Property or to the sums secured by this Security Instrument,
           whether or not then due. "Opposing Party" means the third party that owes Borrower
           Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard
           to Miscellaneous Proceeds.




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                  Borrower shall be In default If any action or proceeding, whether civil or criminal, is
            begun that, In Lender's Judgment, could result in forfeiture of the Property or other material
            impairment of Lender's Interest In the Property or rights under this Security Instrument.
            Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in
            Section 19, by causing the action or proceeding to be dismissed with a ruling that, in
             Lander's judgment, precludes forfeiture of the Property or other material Impairment of
             Lender's interest in the Property or rights under this Security Instrument The proceeds of
             any award or claim for damages that are attributable to the impairment of Lender's Interest
            In the Property are hereby assigned and shall be paid to Lender.
                   All Miscellaneous Proceeds that are not applied to restoration or repair of the Property
            shall be applied in the order provided for In Section 2.
                   12. Bonaww Not R....._.; Farbwwlce       a,    L...._ Not a W..,,_., Extension of the time
            for payment or modification of amortization of the sums secured by this Security Instrument
            granted by Lender to Borrower or any Successor In Interest of Borrower shall not operate to
             release the liability of Borrower or any Succesaors in Interest of Borrower. Lender shall not
             be required to commence proceedings against any Successor in Interest of Borrower or to
            refuse to extend time for payment or otherwise modify amortization of the sums secured by
            this Security Instrument by reason of any demand made by the original Borrower or any
            Successors in Interest of Borrower. Any forbearance by Lender In exercising any right or
            remedy including, without limitation, Lender's acceptance of payments from third persons,
            entities or Successors in Interest of Borrower or In amounts less than the amount then due,
             shall not be a waiver of or preclude the exercise of any right or remedy.
                   13. Joint and S - - Llabllllr, Co-slgnws; Stice•_.. and Anlgna Bound. Borrower
             covenants and agrees that Borrower's obligations and liability shall be joint and several.
             However, any Borrower who co-signs this Security Instrument but does not execute the Note
             (a •co-signer"): (a) is co-signing this Security Instrument only to mortgage, grant and convey
            the co-signer's interest in the Property under the terms of this Security Instrument; (b) is not
             personally obligated to pay the sums secured by this Security Instrument; and (c) agrees
            that Lender and any other Borrower can agree to extend, modify, forbear or make any
             accommodations with regard to the terms of this Security Instrument or the Note without the
             co-signer's consent.
                  Subject to the provision of Section 18, any Successor in Interest of Borrower who
             assumes Borrower's obligations under this Security Instrument In writing, and is approved
             by Lender, shall obtain all of Borrower's rights and benefits under this Security Instrument.
             Borrower shall not be released from Borrower's obligations and liability under this Security
             Instrument unless Lender agrees to such release in writing. The covenants and agreements
             of this Security Instrument shall bind (except as provided in Section 20) and benefit the
             successors and assigns of Lender.
                   14. Loan Charges. Lender may charge Borrower fees for services performed In
            connection with Borrower's default, for the purpose of protecting Lender's interest in the
            Property and rights under this Security Instrument, including, but not limited to, attorneys'
            fees, property inspection and valuation fees. In regard to any other fees, the absence of
            express authority in this Security Instrument to charge a specific fee to Borrower shall not
            be construed as a prohibition on the charging of such fee. Lender may not charge fees that
            are expressly prohibited by this Security Instrument or by Applicable Law.

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                  If the Loan Is subject to a law which sets maximum loan charges, and that law is finally
            interpreted so that the interest or other loan charges collected or to be collected In
            connection with the Loan exceed the permitted limits, then: (a) any such loan charge shall
            be reduced by the amount necessary to reduce the charge to the permitted llmlt; and (b)
            any sums already collected from Borrower which exceeded permitted limits will be refunded
            to Borrower. Lender may choose to make this refund by reducing the principal owed under
            the Note or by making a direct payment to Borrower. If a refund reduces principal, the
            reduction will be treated as a partial prepayment without any prepayment charge (whether
            or not a prepayment charge is provided for under the Note). Borrower's acceptance of any
            such refund made by direct payment to borrower will constitute a waiver of any right of
            action Borrower might have arising out of such overcharge.
                  15. Nokes. All notices given by Borrower or Lender in connection with this Security
            Instrument must be in writing. Any notice to Borrower in connection with this Security
            Instrument shall be deemed to have been given to Borrower when mailed by first class mail
            or when actually delivered to Borrower's notice address If sent by other means. Notice to
            any one Borrower shall constitute notice to all Borrowers unless Applicable Law expre11ly
            requires otherwise. The notice address shall be the Property Address unless Borro-r has
            designated a substitute notice address by notice to Lender. Borrower shall promptly notify
            Lender of Borrower's change o# address. If Lender specifies a procedure for reporting
            Borrower's change of address, then Borrower shall only report a change of address through
            that specified procedure. There may be only one designated notice address under this
            Security Instrument at any one time. Any notice to Lender shall be given by delivering it or
            by mailing It by first class mall to Lender's address stated herein unless Lender has
            designated another address by notice 1o Borrower. Any notice in connection with this
            Security Instrument shall not be deemed 1o have been given to Lender until actually
            received by Lender. If any notice required by this Security Instrument is also required
            under Applicable Law, the Applicable Law requirement will satisfy the corresponding
            requirement under this Security Instrument
                  t&. Govwnlng Law; lnerallllllr, Rules al Canatruclon, This Security Instrument shall
            be governed by federal law and the law of the jurisdiction in which the Property is located.
            Ali rights and obligations contained in this Security Instrument are subject to any
            requirements and limitations of Applicable Law. Applicable Law might explicitly or implicitly
            allow the parties to agree by contract or H might be silent, but such silence shall not be
            construed as a prohibition against agreement by contract. In the event that any provision or
            clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict
            shall not affect other provisions of this Security Instrument or the Note which can be given
            effect without the conflicting provision.
                  As used in this Security Instrument (a) words of the masculine gender shall mean and
            Include corresponding neuter words or words of the feminine gender; (bl words in the
            singular shall mean and Include the plural and vice versa; and (c) the word •may" gives
            sole discretion without any obligation 1D take any action.
                  17. ~ • ea,,. Borrower shall be given one copy of the Note and of this Security
            Instrument.


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                 11. TraMfs of a.. Pro,-ty or• 8aneflclal llltlrat In Borrow. As used in this
            Section 18, "Interest In the Property• means any legal or beneficial interest in the Property,
            including, but not limited to, those beneficial interests transferred in a bond for deed,
            contract for deed, installment sales contract or escrow agreement, the intent of which is the
            transfer of title by Borrower at a Mure date to a purchaser.
                  If all or any part of the Property or any Interest In the Property is sold or transferred
            (or if Borrower is not a natural person and a beneficial interest in Borrower is sold or
            transferred) wHhout Lender's prior written consent, Lender may require immediate payment
            In full of all sums secured by this Security Instrument However, this option shall not be
            exercised by Lender if such exercise is prohibited by Applicable Law.
                  If Lender exercises this option, Lender shall give Borrower notice of acceleration. The
            notice shall provide a period of not less than 30 days from the date the notice is given in
            accordance with Section 15 within which Borrower must pay all sums secured by this
            Security Instrument. If Borrower fails to pay these sums prior 10 the expiration of this
            period, Lender may invoke any remedies permitted by this Security Instrument without
            further notice or demand on Borrower.
                 19. Borroww's Rigid ID ~ Aflar Ac:alenllan. If Borrower meets certain
           conditions. Borrower shall have the right 1o have enforcement of this Security Instrument
           discontinued at any time prior to the earliest of: (a) five days before sale of the Property
           pursuant to any power of sale contained in this Security Instrument; (b) such other period as
           Applicable Law might specify for the termination of Borro-r's right to reinstate; or (c) entry
           of a Judgment enforcing this Security Instrument. Those condittons are that Borrower: (a)
           pays Lender all sums which then would be due under this Security Instrument and the Note
           as if no acceleration had occurred; (b) cures any default of any other covenants or
           agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including,
           but not limited to, reasonable attorneys' fees, property Inspection and valuation fees, and
           other fees incurred for the purpose of protecting Lender's interest In the Property and rights
           under this Security Instrument; and (d) takes such action as Lender may reasonably require
           to assure that Lender's interest in the Property and rights under this Security Instrument,
           and Borrower's obligation to pay the sums secured by this Security Instrument, shall
           continue unchanged. Lender may require that Borrower pay such reinstatement sums and
           expenses in one or more of the followlng forms, as selected by Lender: (a) cash; (b) money
           order; (c) certified check, bank check, treasurer's check or cashier's check. provided any
           such check Is drawn upon an institution whose deposits are Insured by a federal agency,
           instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower.
           this Security Instrument and obligations secured hereby shall remain fully effective as If no
           acceleration had occurred. However, this right to reinstate shall not apply in the case of
           acceleration under Section 18.
                  20. Sale of Nola; Cll■nOe of Loan hrvlcw; Noke of Grtennce. The Note or a partial
            interest in the Note (together with this Security Instrument) can be sold one or more times
            without prior notice to Borrower. A sale might result In a change In the entity (known as the
            "Loan Servicer") that collects Periodic Payments due under the Note and this Security
            Instrument and performs other mortgage loan servicing obligations under the Note,



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           this Security Instrument, and Applicable Law. There also might be one or more changes of
           the Loan Servicer unrelated 1D a sale of the Note. If there is a change of the Loan Servicer,
           Borrower will be given written notice of the change which will state the name and address
           of the new Loan Servicer, the address to which payments should be made and any other
           information RESPA requires in connection with a notice of transfer or servicing. If the Note
           is sold and thereafter the Loan Is serviced by a Loan Servicer other than the purchaser of
           the Note, the mortgage loan servicing obllgatlons to Borrower will remain with the Loan
            Servicer or be transferred 1D a successor Loan Servicer and are not assumed by the Note
           purchaser unless otherwise provided by the Note purchaser.
                 Neither Borrower nor Lender may commence, join, or be joined to any Judicial action
          {as either an individual litigant or the member of a class) that arises from the other party's
          actions pursuant to this Security Instrument or that alleges that the other party has
          breached any provision ol, or any duty owed by reason of, this Security Instrument. until
          such Borrower or Lender has notified the other party {with such notice given in compliance
          with the requirements of Section 15) of such alleged breach and afforded the other party
          hereto a reasonable period after the giving of such notice to take corrective action. If
          Applicable Law provides a time period which must elapse before certain action can be
          taken, that time period will be deemed to be reasonable for purposes of this paragraph.
          The notice of acceleration and opportunity to cure given to Borrower pursuant to Section 22
          and the notice ol acceleration given to Borrower pursuant to Section 18 shall be deemed to
          satisfy the notice and opportunity to take corrective action provisions of this Section 20.
                21. H--«lous 11,llatances. As used in this Section 21: {a) "Hazardous Substances•
           are those substances defined as toxic or hazardous substances, pollutants, or wastes by
           Environmental Law and the following substances: gasoline, kerosene, other flammable or
          toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
           containing asbestos or formaldehyde, and radioactive materials; {b) "Environmental law"
           means federal laws and laws of the Jurisdiction where the Property is located that relate to
           health, safety or environmental protection; (c) "Environmental Cleanup• includes any
           response action, remedial action, or removal action, as defined in Environmental Law; and
           {d) ah "Environmental Condition• means a condition that can cause, contribute to, or
          otherwise trigger an Environment Cleanup.
                Borrower shall not cause or permit the presence, use, disposal, storage, or release of
           any Hazardous Substances, or threaten to release any Hazardous Substances, on or in the
           Property. Borrower shall not do, nor allow anyone else to do, anything affecting the
           Property {a) that is in violation of any Environmental Law, (b) which creates an
          Environmental Condition, or {c) which, due 1D the presence, use, or release of a Hazardous
           Substance, creates a condition that adversely affects the value of the Property. The
           preceding two sentences shall not apply to the presence, use, or storage on the Property of
           small quantities of Hazardous Substances that are generally recognized to be appropriate to
           normal residential uses and to maintenance of the Property (including, but not limited to,
           hazardous substances In consumer products).




          SF\.15   Rav 01111IOO                P-15olt8          lftltials
CJ'N f 104922671, OR BK              39474   PG   1087,           Page    16 of 19
         Case 23-16706-PDR                        Doc 22-1               Filed 09/18/23    Page 52 of 62




                   Borrower shall promptly give Lender written notice of (a) any investigation, claim,
           demand, lawsuit or other action by any governmental or regulatory agency or private party
           Involving the Property and any Hazardous Substance or Environmental Law of which
           Borrower has actual knowledge, (b) any Environmental Condition, including but not limited
           to, any spilling, leaking, discharge, release or threat of release of any Hazardous Substance,
           and (c) any condition caused by the presence, use or release of a Hazardous Substance
           which adversely affects the value of the Property. If Borrower learns, or Is notified by any
           governmental or regulatory authority, or any private party, that any removal or other
           remediation of any Hazardous Substance affecting the Property la necessary, Borrower shall
           promptly take all necessary remedial actions In accordance with Envlronmental Law.
           Nothing herein shall create any obligation on Lender for an Environmental aeanup.
                  NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as
            follows:
                  22. Accelenlllon; RemedlN. Lender shall glw nalc:e ID a - - prior lo IICCelerallon
            following Borrower's breac:11 of any _ . ar . . , _ _ In this Secaltr lnatrumant (but
            not prtor to accalenllon undw Sedioll 11 . . _ Applkllll■ Law provlclN a4herwlse). The
            nolce shall apeclfJ: (a) lie default; (b) a. action .........,_ lo c:w. lie default (c) a d•.
            not IMs than 30 clap from the _.. Ille nolce Is given lo           aomnr..,by which the default
            must be cured; and (d) lllat fallunt lo c:w. a. dafault on or b■IDnl the clala speclflecl In the
            notice may ,-uN In acc:elel'llllaf al . . -               Halntd by Ills Security Instrument,
            foreclosure by fudldal proceeding and sale al lhe Propertr. The nolce shall fw1ller Inform
            Boffow• of Ille right tD , . . . _ allllr accal..._ and lie right fD 8IHlt In lie foredosure
            proceeding Ila IIClll-!IJBI 1.c:a of a clalault or any olher . , . _ al a - tD accelerallon
            and foreclosure. If . . clalalt Is nol c:lftCI on or Nfore a. data spedfted In the notice,
            Lender at Ila option may require lmmadlate ~ In full al all sums NCUntd by this
            Sacurlty Instrument without fulfller clMland and may forecloN this Sec:urlty 11191rument by
            Judicial proceadlJig, Lender shall be enltled tD c:allec:t all upenl8S IIICUfflld In pursuing the
            IWMclles provided In Ills Section 22, lnclucllng, but nol llmllad to, rwonable ~ fw
            and costs of Ille evidence.
                  23. R . - . Upon payment of all sums secured by this Security Instrument, Lender
             shalt release this Security Instrument. Borrower shall pay any reconlation costs. Lender
             may charge Borrower a fee for releasing this Security Instrument, but only if the fee is paid
             to a third party for services rendered and the charging of the fee is permitted under
             Applicable Law.
                  24. At1DrMys' F - . As used In this Security Instrument and the Note, attorneys' fees
            shall include those awarded by an appellate court and any attorneys' fees incurred in a
            bankruptcy proceeding.
                  25. Jury Trial Walwr. The Borrower hereby waives any right to a trial by Jury In any
            action, proceeding, claim, or counterclaim, whether in contract or tort, at law or in equity,
            arising out of or In any way related to this Security Instrument or the Note.




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CJ'N I 104922671, OR ag        39474   PG    1088,   Page   17 of 19
         Case 23-16706-PDR                  Doc 22-1     Filed 09/18/23            Page 53 of 62




                 BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in
              this Security Instrument and in any Rider executed by Borrower and recorded with It.




                                                            ~J_
                                                            PLANTATION, FL 33317




             SFL17   Rw 12/27AJO              P-17of18          Initials:            FORM 3ll10   11111
Cl'N f 104922671, ORB~            39474   PG   1089,            Page    18 of 19
         Case 23-16706-PDR                     Doc 22-1                Filed 09/18/23                   Page 54 of 62




           STATE OF FLORIDA,                       BIUiARD                                       Cauntya:
               This foregoing instrument was acknowledged before me this                       April 11 , 2005             by
             RALPH L SANDERS, AN UNMARRIED MAN




           who is personally known to me or who has produced             J           ''/}-(.':,I~ntlficatiori.




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           Case 23-16706-PDR                     Doc 22-1    Filed 09/18/23   Page 55 of 62




                                                    Exhibit A



        Lot 22, in Block 4, of PLANTATION PARK 10TH ADDITION, according to the Plat thereof, as
        recorded in Plat Book 55, at Page 21, of the Public Records of Broward County, Florida.




         File Numller: OS.. Saden                                                      DoubleTltt,-
                           Case 23-16706-PDR               Doc 22-1          Filed 09/18/23            Page 56 of 62


Loi:,8459424: Gold mine of information regarding Wells Fargo did not have
right to assign

From: ralph sanders (ralph_l_sanders@yahoo.com)

To:    crdocs@sls.net

Date: Sunday, April 23, 2023 at 03:18 PM EDT
                       r-------------

The City of Plantation is still digitizing the images of the city record. The city clerk has offered to if there are
any specific records the I/We want to digitize.

I am focusing on insurance policies if a plan does not work, still goes back to Wells Fargo using their
Lender Title insurance policy.

httrJs://www.rJlantation.org{government/derJartments/citY.-clerk



  Plantation > ... > Executed Agreement > Hazen And Sawyer, P.C.

m:1                         116   of 117                       - +      AutomatlcZoom    v                                                              I

                ~                                                                                     HAZE&SA-01
      ACORD"                                                                                                                     DATE IIIIIIIDOIYYYY)
        \,,__.....-'                        CERTIFICATE OF LIABILITY INSURANCE                                                       5/5/2020
        THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY ANO CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
        CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
        BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
        REPRESENTATIVE OR PRODUCER, ANO THE CERTIFICATE HOLDER.
        IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must have ADDITIONAL INSURED provisions or be endorsed.
        If SUBROGATION IS WAIVED, subject to the terms and conditions of the policy, certain policies may require an endorsement. A statement on
        this certificate does not confer • hts to the certificate holder in lieu of such endorsement s .
      PROOUCER
      Ames&Gough
      8300 Greens6oro Drive
      Suite 980
      Mclean, VA 22102


      INSURED

                       Hazen and Sawyer
                       498 Seventh Avenue
                       New York, NY 10018



        THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
        INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
        CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS.
        EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
                                                                                   POUCYEFF
                                  Case 23-16706-PDR                                   Doc 22-1                  Filed 09/18/23                        Page 57 of 62


RE: Title Insurance claim for 19 homes due to defective Plat easement. SFWMD agrees &
Fidelity Insurance

From: Benjamin Dishowitz (bdishowitz@sflalaw.com)

To:         ralph_l_sanders@yahoo.com; info@sflalaw.com

Date: Thursday, August 18, 2022 at 04:33 PM EDT



I'm sorry Mr. Sanders. This firm has a conflict with the parties involved and cannot represent you in this matter.

Please seek out other counsel soon as your claim may be subject to a statute of limitations.

Regards,




Benjamin R. Dishowitz, Esq.
Doumar, Ailsworth, Laystrom, Voigt,
Wachs, Adair & Dishowitz, LLP
1177 Southeast Third Avenue
Ft. Lauderdale, Florida 33316
Tel: (954) 762-3442
Fax: (954) 525-3423
Email: bdishowitz@stlalaw.com

IRS Circular 230 Disclosure: Please note that the views expressed herein or in any attachments hereto are not intended to constitute a "reliance opinion·• under applicable Treasury Regulations. and accordingly are not
intended or written to be used. and may not be used or relied upon, for the purpose of (i) avoiding tax-related penalties that may be imposed by the Internal Revenue Service. or (ii) promoting, markctmg or
recommending to another pany any tax-related matters addressed herein.

NOTICE: THE INrORMATION CONTAINED IN THIS TRANSMISSION IS ATTORNEY PRIVIUGED AND CONflDl::NTIAL IT IS INTl::NDl::D ONLY FOR THE US!:: ot THI: INDIVIDUAL OR 1::NTITY
NAMED ABOVE. IF THE READER OF THIS MESSAGE IS NOT THE INTENDED RECIPIENT, YOU ARE HEREBY NOTIFIED THAT ANY DISSEMINATION. DISTRIBUTION OR COPY OF THIS
COMMUNICATION IS STRICTLY PROHIBITED. IF YOU HAVE RECEIVED THIS COMMUNICATION IN ERROR, PLEASE NOTIFY US IMMEDIATELY BY TELEPHONE COLLECT AND DELETE THE
MATERIAL FROM ANY COMPUTER. THANK YOU.




  From: ralph sanders <ralph_l_sanders@yahoo.com>
  Sent: Thursday, August 18, 2022 3:42 PM
  To: info@sflalaw.com
  Cc: ralph_l_Sanders@yahoo.com
  Subject: litle Insurance claim for 19 homes due to defective Plat easement. SFWMD agrees & Fidelity Insurance



  I/We need legal help


  I live at 561 SW 60th ave, Plantation near Fig Tree park.
  My home is on the canal between SW 62 ave & 60th ave.


  I have an open homeowner insurance claim.
  The GC's who came out to give me an estimate informed me that I had a setback issue from the
  canal to building. II turns out that I have a major setback issue so do all of my                                                                                            ntl:i~
               Case 23-16706-PDR        Doc 22-1    Filed 09/18/23   Page 58 of 62
The plats for Plantation Park 4 {book 49, page 27) & Plantation Park 1O {Book 55, Page 21)
reflect on paper that there is supposed to be a 20-wide Canal Maintenance Easement.
Unfortunately, reality does not match paperwork. On the day one survey, when my home was
built. My home was 14.5 ft from the canal bank



The second damaging event occurred in 2010 when a non-permitted pump designed for a 50-
foot wide canal system got fed into a 30-foot-wide canal


The 14.5-foot distance got shorter

My next-door neighbor has harbor into her backyard. The property is the life savings that she
cannot sell. That is true for a few other houses and life savings that cannot sell.


The following parties agree that I/We have an issue.

Fidelity National Title insurance
httRs://www.fntic.com/


A Title insurance Claim was filed. They informed me that my lot is not what I thought it was. I
was figuring a few feet lost. Fidelity informed me about Plat. Fidelity agreed I have a valid claim,
but they did not like the survey. My lot per BCPA is 20,028 sq feet.In reality, the lot is 12,800.
SFWMD said {email & voice) that the buildings have to be 40 feet from the canal bank. If you
look at the east side of the canal, not a single home is legal. Per SFWMD Broward office, the
City of Plantation can level the area with just some noise.


SFWMD in their Broward & Palm Beach office already agrees that we have a defective
easement.


Property Lawyer Scott Golden law firm. His advice, sue the City of Plantation


I am looking for a law firm that can handle the legal issues and know a builder {Lennar), 19
homes, and 21 families. Two of the homes are rented out. The two owners live in Parkland.
Doesn't Lennar have multi-generation homes? On good terms with the City of Plantation? The
homes on the west side of the canal can be cured, but the east side of the canal (9 homes) is
very questionable
The question, any idea if some builders would be interested in the westside of Plat book 154
page 37


Please let me know if you would like to schedule a meeting. PLEASE, This has gotten to be too
much.
              Case 23-16706-PDR       Doc 22-1    Filed 09/18/23   Page 59 of 62


Ralph Sanders
561 SW 60th ave
Plantation, Fl. 33317


Phone:754.801.7097




from 1963 -2000 aerial photos
The blue encircled homes plat has a canal maintenance easement on paper, and in reality
    The yellow encircled homes plat has a canal maintenance easement on paper, but not in
reality




The layout of what information SFWMD is getting. There are sub-levels. I am still looking out for
neighbors.
                    Case 23-16706-PDR              Doc 22-1    Filed 09/18/23   Page 60 of 62
 Name                                                           Status     Date modified          Type
  ..i 1. History_Outline                                        ,.,.
                                                                ...,       8/17/2022 5:03 PM      File folder
    lOO_Plat
                                                                ,..        8/17/2022. 9:35 PM     File folder
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                                                                ,..,
  ,: 200_Surveys                                                ...,       8/17/2022 2:22 PM      File folder
 ,.J 300_Who_Owns_Canal
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 ". 350_Damage_to_Canal
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   . -~ 600.Permits_issued_by_city_vs_state_Govt_VS_Fed_Goft
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    700_CityofPlantation.SFWMD_Army_Corp_Communication
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 ·} 800_Statues_Cases_1950_1965_newpaper_reports
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                                                                ...,       8/18/2022 9:26 AM      File folder
 ~.:'. 900.Misc_Research
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                                                                ...,       8/17/2022 4:20 PM      File folder
       .. -- - ----                                                        - -------- - -- -- -




RE: Notification: New Citizens Request Received - C008013-081022
Yahoo/In box
    • Priest, Gary <gP-riest@sfwmd.gov>
        To:ralph_l_Sanders@yahoo.com


        Mr. Sanders,
        We received your inquiry and will begin researching the available information. In your
        email, you reference an "attached link, zoom in enough to see "PLANTATION" in one of
        the squares", can you please provide that link and any copies of the plat you may already
        have.


        Sincerely,
        Gary R. Priest, P.E.
        Engineering Section Administrator
        Environmental Resource Bureau I Regulation Division
        South Florida Water Management District
        {863) 462-5260, Ext. 3016
        Email: 91iriest@sfwmd.gov
          Case 23-16706-PDR           Doc 22-1     Filed 09/18/23      Page 61 of 62




Note:

While the District supports that it is commonplace and convenient to collaborate via email during the pre-
application/application process, Permit Applications and Responses to a Request for Additional Information
(RAI) submitted via email are not an official submittal (Section 4.4 of Environmental Resource Permit
Applicant's Handbook Volume I). For timely and efficient processing of permit applications and RAI
responses, please submit online using ePermitting (link above).




From: South Florida Water Management District <sfwmd@ffiY.custhelR.net>
Sent: Thursday, August 11, 2022 8:34 AM
To: Blythe, Wayne <wblythe@sfwmd.gov>; Cook, Brad <bcook@sfwmd.gov>; Cruz, Virg
<vcruz@sfwmd.gov>; Krumlauf, Jennifer <jkrumla@sfwmd.gov>; Lancaster, Stephanie
<slancast@sfwmd.gov>; Lawrence, Melissa <mroberts@sfwmd.gov>; Layman, Laura
<Jlgyman@sfwmd.gov>; Madsen, Christine <cmadsen@sfwmd.grul>; Markle, Jesse
<jmarkle@sfwmd.gov>; Prather, Lisa <1Rrather@sfwmd.gov>; Priest, Gary
<gwiest@sfwmd.gov>; Sunderland, Simon <ssunder@sfwmd.gov>
Subject: Notification: New Citizens Request Received - C008013-081022



[Please remember, this is an external email]



Overview of the RegY.Ht
Description: Hi I live in Plantation on SFWMD/OPWCD canal system. My neighbors and I
have a unique canal system compared to all other Broward County canal systems. All
canals system has two parts. The first part is the water, and the 2nd part of the canal
maintenance easement. The canal here only has the water part, no canal maintenance.
Per Broward County Records Book 49 Page 27 and Book 55 page 21. reflects that the
canal maintenance is supposed to be there, but the canal maintenance easement is not
physical there Broward county had aerial photos from 1963 - 2000 taken every two
years. In the attached link, zoom in enough to see "PLANTATION" in one of the squares.
Go down one square and one square e to the right. As you zoom in, you will see the
words "Plantation Park" just above a pond and canal. The canal in the photos does not
have the maintenance easement from day 1, yet all other developments have the canal
maintenance. How does SFWMD handle issues where the buildings are 14 feet from the
canal bank, not 20 feet from the canal bank per county code, much less than the 40 feet
from the canal bank as required by SFWMD? Do I get to find out how good my lender
title insurance and owners' title insurance are and make this land into a park? Of course,
the title insurance companies will be looking to recover their money I will add more Plat
and photos of the homes' damage due to your easement. Is the easement public Do you
defend your waterways or ?? One law firm advised just suing the City of Plantation, but
the City and SFWMD lose. The first layer of ownership of the easement is the City of
Plantation and then SFWMD. I can't even repair my home due to setbacks per GCs.
        Case 23-16706-PDR              Doc 22-1       Filed 09/18/23         Page 62 of 62
Getting a variance of 25.5 feet* 180 feet (4,590 sq ft) of land that does not exist and that
I am paying land tax is not a workable solution, plus attempting to repair damage to my
home from storms. The issue is already in front of a bankruptcy Judge. There are 19
homes similar to my home and damaged. What do you propose? And please don't pass
the buck. 561 SW 60 the Ave Plantation, Fl 33317 754.801.7097
Customer Full Name: Ralph L. Sanders
Company Name:
Customer Email Address (if provided): ralRh I Sanders@yahoo.com
Customer Phone Number (if provided): 754-801-7097 Ext.
Create Date: 8/10/2022 11 :04:58 PM
Reference # C008013-081022
Status: Open

This is notification the system received a new Citizens Request or a request has been
reassigned to you.
The request has been routed to the appropriate staff members. Below is the link to the
specific request.
httRs://sfwmd.mycusthelRadmin.com/webaRRIZadmin/ServiceReguests/Details.asRx?
id=8013

       This is an auto-generated email and has originated from an unmonitored email account. Please DO NOT
